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                          UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVNANIA


 ESTATE OF CLARA T. TROILO, deceased, by
 FRANK TROILO, Executor of the Estate of                 Civil Action No.:
 CLARA T. TROILO

                                 Plaintiff,             NOTICE OF REMOVAL OF CIVIL ACTION
 v.                                                       PURSUANT TO 28 U.S.C. §§ 1331, 1441,
                                                                  1442(a)(1) and 1446
 ROSE TREE PLACE, NSL ROSE TREE
 PLACE, LLC d/b/a ROSE TREE PLACE,
 WATERMARK RETIREMENT
 COMMUNITIES, INC., WATERMARK
 RETIRMENT COMMUNITIES, LLC,
 WATERMARK OPERATOR, LLC, CYNTHIA
 EVANS AND KAREN MLAWSKY,

                                 Defendants.


                          NOTICE OF REMOVAL OF CIVIL ACTION

         Defendants Watermark Communities, LLC f/k/a Watermark Retirement Communities,

Inc., Watermark Operator, LLC d/b/a Rose Tree Place, Cynthia Evans and Karen Mlawsky

(“defendants”) hereby remove this state action currently pending in the Court of Common Pleas,

Philadelphia County, Pennsylvania to this District Court pursuant to 28 U.S.C. §§1331, 1441,

1442(a)(1), 1446, and 42 U.S.C. §§247d-6d, 247d-6e (2020), for the reasons described more fully

below.

                                    PROCEDURAL HISTORY

         1.       This civil action was initially filed on or about December 6, 2021 in the Court of

Common Pleas, Philadelphia County, Pennsylvania, and captioned Estate of Clara T. Troilo,

deceased, by Frank Troilo, Executor of the Estate of Clara T. Troilo v. Rose Tree Place, et al.,

December Term 2021, No. 000073. See Plaintiff’s Complaint appended hereto as Exhibit A.




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       2.      This case is removable under 28 U.S.C. §1441(a), on the basis of “original

jurisdiction” because plaintiff’s Complaint asserts a claim “arising under” federal law within the

meaning of 28 U.S.C. §1331 by virtue of complete preemption under the Public Readiness and

Emergency Preparedness (“PREP”) Act and the existence of an embedded substantial federal

question under Grable & Sons Metal Products, Inc. v. Darue Eng’g. & Mf’g., 545 U.S. 308 (2005).

This case is further removable under 28 U.S.C. §1442(a)(1), as defendants are being sued in

connection with alleged acts undertaken at the direction of a federal officer.


                                          REMOVAL IS TIMELY

       3.      Defendants’ removal is timely under 28 U.S.C. §1446(b), as it is being filed within

30 days after service on the within defendants of a copy of the pleading from which it may be

ascertained that the case is removable.

       4.      Defendant NSL Rose Tree Place, LLC is not a proper party to this litigation as it is

a former operator of the community and its operation of the community ceased years before the

acts giving rise to causes of action alleged in plaintiff’s Complaint took place; moreover, upon

information and belief, this defendant has not been properly served.

       5.      Concurrent with the filing of this Notice, defendants are serving this Notice of

Removal upon plaintiff’s counsel and filing a copy of this Notice of Removal with the

Prothonotary of the Court of Common Pleas, Philadelphia County, pursuant to 28 U.S.C. §1446(d).

A Disclosure of Corporate Interests Form is also being filed, as is a complete copy of the State

Court File.




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                                  INTRADISTRICT ASSIGNMENT

       6.      The United States District Court for the Eastern District of Pennsylvania embraces

the district and division in which the Philadelphia County, Pennsylvania state court action is now

pending, and thus this Court is a proper venue for the action pursuant to 28 U.S.C. §110.

                                        PLAINTIFF’S CLAIMS

       7.      Plaintiff’s Complaint raises numerous allegations, including that decedent, Clara T.

Troilo (“the decedent” or “Ms. Troilo”), contracted and died from COVID-19 on April 29, 2020.

Plaintiff alleges that Ms. Troilo contracted COVID-19 in the community as a result of the manner

in which defendants administered their COVID-19 countermeasure program, blaming her death

on defendants’ management of, and decisions regarding, COVID-19 testing protocols including

the timeliness of defendants’ disclosure of purportedly positive test results and additionally, the

sufficiency of defendants’ accommodations and care services as related to COVID-19. See Exhibit

A.

       8.      More specifically, plaintiff alleges, inter alia, that on or about March 7, 2020,

defendants implemented “precautions” in response to the pandemic, including the creation of a

“COVID-19 task force” and the administration of “COVID protocols, policies, procedures, safety

measures,” that included COVID testing and reporting, isolation rules, visitation restrictions, and

changes to the resident care programs and other services, so as “to provide an umbrella of safety

for residents” during the pandemic. See Exhibit A at ¶¶ 23-31.

       9.      Plaintiff further contends that defendants did not properly implement these COVID

countermeasure protocols in that they did not timely report to residents and their families allegedly

positive COVID-19 test results among residents of Rose Tree Place until April 22, 2020, when




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defendants, for the first-time, notified residents and others about a resident testing positive for

COVID-19. Id. at ¶32.

       10.     Plaintiff alleges that defendants’ “acts and omissions” in regard their

countermeasure program planning and their failure to provide decedent with “safe

accommodations” and sufficient “care services” during the COVID-19 pandemic resulted in the

wrongful death of the decedent from COVID-19. Id. at ¶¶61 and 78.

       11.     Plaintiff further claims that defendants’ conduct was intentional to achieve a

wrongful purpose in disregard to the obvious risks, reckless as well as negligent, causing

decedent’s death and other damages. Id. at ¶¶47-49. The Complaint includes causes of action

including fraud, negligent misrepresentation, violation of Pennsylvania’s Unfair Trade Practices

and Consumer Protection Law and breach of contract and seeks damages under Pennsylvania’s

Wrongful Death and Survival Statutes. See Complaint, Counts I through VI.


      I. JURISDICTION EXISTS UNDER 28 U.S.C. §1331 (FEDERAL QUESTION)

       12.     This is a civil action over which the Court has original jurisdiction under 28 U.S.C.

§1331. All claims in the Complaint arise from and relate to defendants’ program planning

decisions related to COVID-19, triggering the exclusive federal remedy under the PREP Act and

completely preempting state law. Further, plaintiff’s Complaint pleads the exclusive federal cause

of action for death or serious physical injury resulting from willful misconduct, as statutorily

defined, which must be brought before the federal court even if the claim is, as here, frivolous and

unsupported by the resident’s chart and the evidence. Accordingly, plaintiff’s asserted state law

claims invoke federal jurisdiction, making removal to this Court proper pursuant to 28 U.S.C.

§1441 and 1446.




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               A. Plaintiff’s state law cause of actions are completely preempted by the
                  PREP Act.

       13.     Complete preemption is an exception to the well-pleaded complaint rule. See

Metro-Life Ins. Co. v. Taylor, 481 U.S. 58, 64¬64 (1987).

       14.     Complete preemption occurs when the “preemptive force of a statute is so

‘extraordinary’ that it ‘converts an ordinary state common-law Complaint into one stating a federal

claim for purposes of the well-pleaded Complaint rule.’” Caterpillar Inc. v. Williams, 482 U.S.

386, 393 (1987) (quotation omitted); Metro-Life, 481 U.S. at 63-64 (complete preemption exists

when the preemptive force of federal law is so powerful that it displaces any state law cause of

action and leaves room only for a federal claim for purposes of the “well-pleaded complaint” rule).

Complete preemption “‘confers exclusive federal jurisdiction in certain instances where Congress

intended the scope of a federal law to be so broad as to entirely replace any state-law claim.’”

Marin General Hosp. v. Modesto & Empire Traction Co., 581 F.3d 941, 945 (9th Cir. 2009)

(quoting Franciscan Skemp Healthcare, Inc. v. Cent. States Joint Bd. Health & Welfare Trust

Fund, 538 F.3d 594, 596 (7th Cir. 2008)) (internal quotations omitted).

       15.     According to the Third Circuit, complete preemption exists when: (1) a statute

contains civil enforcement provisions within the scope of which a plaintiff’s state law claims fall;

and (2) there is a “clear indication of Congressional intention to permit removal despite the

plaintiff’s exclusive reliance on state law.” Railway Labor Executives Ass’n v. Pittsburgh & Lake

Erie R.R. Co., 858 F.2d 936, 942 (3rd Cir. 1988) (citing Franchise Tax Bd. of State of Calif. v.

Construction Laborers Vacation Trust for Southern Calif., 463 U.S. 1, 24 (1983)).

       16.     The PREP Act is a complete preemption statute based on the plain language of the

Act. As explained by the U.S. Department of Health and Human Services (“HHS”) in a January

2021 Advisory Opinion issued by the Secretary’s Office of General Counsel (“OGC”), the PREP

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Act is a complete preemption statute based on its terms in that it establishes an exclusive federal

remedy for claims falling thereunder.

       17.     Congress enacted the PREP Act in December 2005 to encourage and coordinate a

thorough, rapid, and comprehensive response to declared public health emergencies by granting

broad immunity to covered persons (like defendants) for claims of loss related to the administration

or use of covered countermeasures so that they may combat the emergency without fear of

litigation or liability. See 42 U.S.C. §247d-6d(a)(1).

       18.     Specifically, the legislation empowers the Secretary of HHS to issue a written

declaration and provide that a “covered person shall be immune from suit and liability under

Federal and State law with respect to all claims for loss caused by, arising out of, relating to, or

resulting from the administration of or the use by an individual of a covered countermeasure”

during a health emergency. 42 U.S.C. §247d-6d(a)(l). The HHS Secretary’s declaration is

controlling and cannot be reviewed. Indeed, the PREP Act provides that “[n]o court of the United

States, or of any State, shall have subject matter jurisdiction to review, whether by mandamus or

otherwise, any action by the Secretary under this subsection.” 42 U.S.C. §247d-6d(b)(7). By these

explicit directives, and particularly by making the actions of the Secretary non-reviewable,

Congress intended the Secretary’s declaration (including any amendments) to have the force of

law.

       19.     Under 42 U.S.C. §247d-6d(d)(l), “the sole exception to the immunity from suit and

liability of covered persons ... shall be for an exclusive Federal cause of action against a covered

person for death or serious physical injury proximately caused by willful misconduct” as defined

by the Act.




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       20.     For claims that do not assert “willful misconduct,” the exclusive federal remedy for

relief is established under §247d-6e, which permits an individual to claim no-fault benefits through

the Covered Countermeasure Process Fund for a covered injury caused by the “administration or

use of a covered countermeasure.”

       21.     State causes of action for claims relating to covered countermeasures are

impermissible, as the PREP Act substitutes an exclusive federal cause of action and federal claims

process in place of all state claims relating to the administration and use of covered

countermeasures.

       22.     The PREP Act further sets forth the procedures for the federal suit that it creates.

Pursuant to subsection (e)(1), titled “Exclusive Federal Jurisdiction,” any action for willful

misconduct must be filed in the U.S. District Court for the District of Columbia. Such claims are

also subject to heightened pleading requirements (i.e., requirement that claims are to be plead with

particularity) and verification of and submission of a physician declaration in support of the

complaint; and are assigned to a three- judge panel which has jurisdiction to consider motions to

dismiss and motions for summary judgment. 42 U.S.C. §247d-6d(e)(l), (e)(3) (e)(4) and (e)(5).

       23.     Moreover, pursuant to §247d-6d(e)(l0),

               The United States Court of Appeals for the District of Columbia
               Circuit shall have jurisdiction of an interlocutory appeal by a
               covered person taken within 30 days of an order denying a motion
               to dismiss or motion for summary judgment based on an assertion
               for the immunity from suit conferred by subsection (a) or based on
               an assertion of the exclusion under subsection (c)(S).

       24.     Thus, the PREP Act creates an exclusive federal cause of action for the claims

asserted by plaintiff as well as the procedures and remedies governing that cause of action. It also

establishes procedures for obtaining no-fault benefits through the Covered Countermeasure

Process Fund, 42 U.S.C §247d-6.

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       25.     In addition, in the subsection of the PREP Act conspicuously titled,

“PREEMPTION OF STATE LAW,” Congress also provides, in relevant part, that “no State or

political subdivision of a State may establish, enforce, or continue in effect with respect to a

covered countermeasure any provision of law or legal requirement that is different from, or in in

conflict with, any requirement applicable under this section and relates to, among other things, use

or administration of a covered countermeasure.” 28 U.S.C. §247d-6d(b)(8).

       26.     The PREP Act’s exclusive two-part federal remedy, bolstered by its express

preemption provision, forms the basis for complete preemption. Accordingly, where a cause of

action falls within the scope of the PREP Act, the Act completely preempts that cause of action

and confers federal subject matter jurisdiction thereon. It does not matter whether the complaint

expressly raises a federal claim or whether it even cites the completely preemptive statute. Rather,

the doctrine of complete preemption “converts [plaintiffs’] ordinary state common law complaint

into one stating a federal claim for purposes of the well-pleaded complaint rule.” Metro. Life, 481

U.S. at 65.

       27.     For the COVID-19 pandemic, the PREP Act was invoked on March 10, 2020, when

the HHS Secretary issued a Declaration invoking the PREP Act. The Declaration was made

effective as of February 4, 2020. In the Declaration, the Secretary pronounces that “Administration

of Covered Countermeasures means physical provision of the countermeasures to recipients, or

activities and decisions directly relating to public and private delivery, distribution, and

dispensing of the countermeasures to recipients; management and operation of countermeasure

programs; or management and operation of locations for purpose of distributing and dispensing

countermeasures.” 85 Fed. Reg. 15198 (Mar. 17, 2020), amended by 85 Fed. Reg. 21012 (Apr. 15,

2020), 85 Fed. Reg. 35100 (June 8, 2020), 85 Fed. Reg. 52136 (Aug. 24, 2020), 85 Fed. Reg.



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79190 (Dec. 9, 2020), 85 Fed. Reg. 7872 (February 2, 2021), 86 Fed. Reg. 9516 (February 16,

2021), 86 Fed. Reg. 14462 (Mar.16, 2021), 86 Fed. Reg. 41977 (Aug. 4, 2021), 86 Fed. Reg. 51160

(Sept.    14,   2021)     (as    corrected     by    86    Fed.     Reg.    54696      (Oct.    4,   2021)     and

https://www.phe.gov/Preparedness/legal/prepact/10th-Amendment.aspx (December 30, 2021)

(herein, “the Declaration”). 1

         28.     On December 3, 2020, the Secretary issued a Fourth Amended Declaration under

the PREP Act, effective as of February 4, 2020. The Secretary’s Fourth Amended Declaration

provides that “COVID-19 is an unprecedented global challenge that requires a whole-of-nation

response that utilizes federal, state, and local-distribution channels as well as private-distribution

channels. Given the broad scale of this pandemic, the Secretary amends [Section VII of the

Declaration to extend PREP Act coverage to additional private- distribution channels ....”

(Emphasis added).

         29.     The Fourth Amended Declaration specifically provides that Section VII of the

Declaration is amended to extend liability protection under the PREP Act to Covered Persons for

Recommended Activities that are related to: Covered Countermeasures that are:

                 a.      Licensed, approved, cleared or authorized by the FDA (or
                 that are permitted to be used under an Investigational New Drug
                 Application or an Investigational Device Exemption) under the
                 FD&C Act or PHS Act to treat, diagnose, cure, prevent, mitigate, or
                 limit the harm from COVID-19, or the transmission of SARS-CoV-
                 2 or a virus mutating therefrom; or



1
  The Secretary subsequently issued an Amended Declaration under the PREP Act, which was effective as of March
27, 2020. The Amendment added respiratory protective devices approved by NIOSH (National Institute for
Occupational Safety and Health) as a covered countermeasure under the PREP Act. On June 4, 2020, the Secretary
further amended the March 10, 2020 Declaration to clarify that covered countermeasures under the Declaration include
qualified products that limit the harm COVID-19 might otherwise cause. This Amendment was effective as of
February 4, 2020. 85 FR 21012. Throughout the pandemic, HHS has reinforced the complete preemptive effect and
the broad scope of the PREP Act in its Advisory Opinions and Amendments to the Declaration. To date, the
Declaration has been amended ten times, six of which have been under the Biden Administration, further confirming
the expansive breadth of the Act and its preemptive effect.

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                 b.      A respiratory protective device approved by NIOSH under
                 42 CFR part 84, or any successor regulations, that the Secretary
                 determines to be priority for use during a public health emergency
                 declared under section 319 of the PHS Act to prevent, mitigate, or
                 limit the harm from COVID-19, or the transmission of SARS-CoV-
                 2 or a virus mutating therefrom. (Emphasis supplied).

85 Fed. Reg. 79194, 79196-97. 2

        30.       The Fourth Amended Declaration further makes explicit that there can be situations

where a decision not to administer a Covered Countermeasure to a particular individual can equate

to the administration of a countermeasure to an individual under the PREP Act. For example,

“[p]rioritization or purposeful allocation of a Covered Countermeasure, particularly if done in

accordance with a public health authority’s directive, can fall within the PREP Act and this

Declaration’s liability protections.” Fed. Reg. 79194, 79197 (emphasis added).

        31.       Additionally, the Fourth Amended Declaration provides that the Declaration must

be construed in accordance with the HHS Office of the General Counsel (OGC) Advisory Opinions

on the Public Readiness and Emergency Preparedness Act and the Declaration (“Advisory

Opinions”). Thus, the Fourth Amended Declaration incorporates all Advisory Opinions related to

COVID-19 and the PREP Act into the Secretary's March 10, 2020 initiating Declaration, affording

them controlling weight. 85 Fed. Reg. 79192, 79194-95. 3




2
  Moreover, attached as Appendix A to the Advisory Opinion is a list of the “covered countermeasures” for which
emergency use authorizations have been issued by the United States Food and Drug Administration. The list includes
twelve pages of COVlD-19 test kits, and provides that face shields, gowns, shoe covers, non-surgical isolation gowns,
surgical caps, properly labeled non-surgical masks, and certain non-NIOSH approved respirators are covered by an
EUA. Surgical masks are not listed; however, such masks are Class II medical devices which are cleared by the FDA
for use. (See 21 CFR 878.4040). Thus, COVID-19 testing kits, face masks, gowns, gloves and other PPE are “qualified
pandemic or epidemic products” and “covered countermeasures” under the PREP Act, as such products are either
FDA cleared/approved or are included in an EUA.
3
  Section (b)(7) of the PREP Act provides that “[n]o court of the United States, or of any state, shall have subject
jurisdiction to review whether by mandamus or otherwise, any action by the Secretary under this subsection.”
(emphasis added). Also, where Congress has expressly delegated interpretive authority to an agency, that agency’s

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        32.      On January 8, 2021, the HHS Secretary’s Office of the General Counsel issued

Advisory Opinion 21-01 (“AO 21-01”) which further confirms that the PREP Act can be triggered

by conscious decision making including in cases of non-use of covered countermeasures. This

includes, as just one example, prioritization or purposeful allocation of a countermeasure and

“particularly if done in accordance with a public health authority’s directive.” According to the

opinion, the view that the PREP Act does not encompass alleged omissions to use of covered

countermeasures “clashes with the plain language of the PREP Act, which extends immunity to

anything ‘relating to’ the administration of a covered countermeasure. In the opinion, HHS further

indicates that the PREP Act is triggered by program planning.

        33.      AO 21-01 also provides that the PREP Act is a complete preemption statute in that

the “sine qua non of a statute that completely preemption is that it established either a federal cause

of action, administrative or judicial, as the only viable claim or vests exclusive jurisdiction in a

federal court. The PREP Act does both.”

        34.      The Fifth Amendment to the Declaration issued on February 2, 2021 under the

Biden Administration reiterated that “[t]he plain language of the PREP Act makes clear that there

is a complete preemption of state law.” Fifth Amendment to the Declaration Under the Public

Readiness and Emergency Preparedness Act for Medical Countermeasures Against COVID-19

and Republication of the Declaration, 86 Fed. Reg. 7872, 7874 (Feb. 2, 2021).

        35.      The United States concurs with this position. In filing a Statement of Interest in

Bolton v. Gallatin Center for Rehabilitation & Healing, LLC, the United States likewise asserts

the PREP Act is a complete preemption statute with respect to the administration or use of covered




interpretative proclamations are controlling on federal courts. See Chevron USA, Inc. v. Natural Resource Defense
Council, Inc., 467 US 837, 843-844 (1984).

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countermeasures based on its plain language. “Two key provisions of the PREP Act operate

together to demonstrate its completely preemptive nature: the immunity provision and the

exclusive alternative remedy provision.” See attached hereto as Exhibit B, a true and accurate copy

of the Statement of Interest filed in Bolton v. Gallatin Center for Rehabilitation & Healing, LLC,

Case 3:20-cv-00683 (M.D. Tenn.)

         36.       A number of other statutes that are similar to the PREP Act also have been held to

establish complete preemption and original federal jurisdiction, such as the Labor Management

Relations Act (“LMRA”), 4 the Employee Retirement Income Security Act (“ERISA”), 5 the

Federal Tort Claims Act (“FTCA”), 6 and the Air Transportation Safety and System Stability Act

(“ATSSSA”). 7




4
 Any state law claims that are substantially dependent on analysis of a collective-bargaining agreement are completely
preempted by section 301 of the LMRA and must be brought in federal court. Caterpillar Inc. v. Williams, 482 U.S.
386, 393 (1987). However, before an employee may bring a Section 301 claim in court, the employee must “at least
attempt to exhaust exclusive grievance and arbitration procedures established by the [collective] bargaining
agreement.” Campbell v. Kane, Kessler, P.C., 144 F. App’x 127, 130 (2d Cir. 2005) (quotation omitted) (Emphasis
added.)
5
  ERISA is another complete preemption statute that has a “firmly established federal policy favoring exhaustion of
administrative remedies” for purposes of, inter alia, reducing the number of frivolous lawsuits, providing a non-
adversarial method of claims settlement and minimizing the costs of claims settlement for all. Kennedy v. Empire Blue
Cross & Blue Shield, 989 F.2d 588, 594 (2d Cir. 1993); Paese v. Hartford Life & Acc. Ins. Co., 449 F.3d 435,445 (2d
Cir. 2006).
6
  The FTCA, which is strikingly similar to the PREP Act, immunizes certain persons from liability and provides an
administrative/judicial remedial scheme for claims falling thereunder. The FTCA affords liability protection to federal
employees for any negligent or wrongful acts committed while acting within the scope of their employment and
provides an exclusive federal cause of action in the federal district courts against the United States under specified
circumstances. Like the PREP Act, before a judicial action may be instituted, the claimant must first present the claim
before the appropriate federal agency for adjudication. 28 U.S.C. § 2675. This jurisdictional requirement cannot be
waived, Celestine v. Mount Vernon Neighborhood Health Ctr., 403 F.3d 76, 82 (2d Cir. 2005), resulting in the
dismissal of claims where a claimant fails to exhaust the administrative remedies.
7
  Congress passed the ATSSSA after the September 11th terrorist attacks to create an exclusive federal cause of action
for damages “arising out of the hijacking and subsequent crashes” of the aircraft used in the attacks. ATSSSA §
408(b)(l), 49 U.S.C. § 40101. Like the PREP Act, the ATSSSA also includes a victim’s compensation fund. Similar
to the PREP Act, Congress’ principal goals in enacting the ATSSSA “were to provide relief without litigation to
individuals harmed as a result of the crashes and to limit the liability of entities that were likely to be sued for injuries
suffered in connection with the crashes.” In re WTC Disaster Site, 414 F.3d 352, 377 (2d Cir. 2005) (Emphasis added).

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       37.     Additionally, several courts have found the PREP Act to be completely preemptive.

In Rachal v. Natchitoches Nursing & Rehabilitation Center, LLC, 2021 U.S. Dist. LEXIS 105847

(W.D. Louisiana April 30, 2021), the Court held that the PREP Act is a complete preemption

statute and that it “exclusively encompass[es] claims for loss caused by, arising out of, relating to,

or resulting from the administration to or the use by an individual of a covered countermeasure.”

2021 U.S. District LEXIS 105847 *4 at n.3 (W.D. La. Apr. 30, 2021). See also Reilly v. Delta

Healthcare II, LLC, No. 8:21-cv-1013-JSM-JSS (M.D. Fla June 7, 2021); Branch v. Lilac

Holdings, LLC, No. 21-cv-00605-BAS-MDD (S.D. Cal. June 16, 2021) (both conceding

applicability of PREP Act in granting defendants’ motions to dismiss based on immunities and

other protections under the Act).

       38.     In Garcia v. Welltower OpCo Group, the Court also held that the PREP Act

provides for complete preemption in that “allegations of use and misuse” of covered

countermeasures fall within the purview of, and are completely preempted by, the PREP Act.

Garcia v. Welltower OpCo Group, 2021 WL 492581, at *7, *21 (C.D. Cal. Feb. 10, 2021).

       39.     In Parker v. St. Lawrence Co. Pub. Health Dept., 102 A.D. 3d 140, 954 N.Y.S.2d

at 262 (2012), the court held that the narrower H1N1 Declaration issued pursuant to the PREP Act

warranted an exclusive federal forum and further held that state courts have no jurisdiction to hear

claims arising out, or concerning, a declaration issued pursuant to the PREP Act.

       40.     And recently, the Third Circuit Court of Appeals – the only circuit court thus far to

interpret the complete preemptive effect of the PREP Act – concluded in Maglioli v. Alliance

Holdings LLC d/b/a Andover Subacute & Rehabilitation I, et al., 16 F.4th 393 (3rd Cir., October

20, 2021), that the PREP Act is a complete preemption statute when willful misconduct is alleged.

According to the Court, the PREP Act “unambiguously” creates an exclusive cause of action for



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willful misconduct thereby establishing original federal jurisdiction over such claims allowing

removal jurisdiction under 28 U.S.C. §§ 1331 and 1442. Maglioli, 16 F.4th at 409 (citing 42 U.S.C.

§§247d-6d, 247d-6e). 8 See also Singer v. Montefiore, Civil Action No. 1:21-cv-02102 (N.D. Ohio

December 27, 2021) (concluding that the PREP Act appears to fall into the narrow class of statutes

that completely preempt a particular field so as to support removal where the plaintiff alleges death

or serious physical injury caused by willful misconduct and agreeing with Maglioli insofar as it

recognizes “[t]he PREP Act’s language easily satisfies the standard for complete preemption of

particular causes of action”).

         41.       Here, the Complaint, as fashioned by plaintiff, is a frontal attack on the acts and

decisions of defendants in their role as “Program Planners” as defined under the PREP Act.

Plaintiff’s claims in this case are premised on alleged willful misconduct under the PREP Act,

namely, alleged acts and omissions with regard to defendants’ administration of their COVID

countermeasure program—including their decisions and management of COVID-19 testing—

purportedly taken intentionally to achieve an wrongful purpose, knowingly without legal or factual

justification and in disregard of a known or obvious risk that is so great as to make it highly

probable that the harm will outweigh the benefit. And such acts and omissions were allegedly



8
  Defendants in Maglioli have moved for a rehearing and a rehearing en banc pursuant to F.R.A.P. 35 & 40, as the
panel did not go far enough, erring with respect to, inter alia, its finding regarding the complete preemption of “non-
willful” claims as the opinion is inconsistent with Supreme Court precedent in Aetna Health, Inc. v. Davila, 542 U.S.
200, 209 (2004), where the Court instructed that “any state-law cause of action that duplicates, supplements, or
supplants the ERISA civil enforcement remedy conflicts with the clear congressional intent to make the ERISA
remedy exclusive and is therefore pre-empted.” Thus, the Third Circuit opinion is contrary to Davila in concluding
only allegations of willful misconduct are completely preempted. As the Supreme Court instructed, the elements of a
federal cause of action need not duplicate state causes of action to provide complete preemption. Id. at 215-16. Thus,
the PREP Act is completely preemptive, even if a plaintiff’s state-law claims are not “strictly duplicative” of a willful
cause of action under the PREP Act. Indeed, a PREP Act cause of action sounds in tort. 42 U.S.C. §§247d-6d(d)(1)–
(2) (creating cause of action for “wrongful death or serious physical injury”). The elements of a PREP Act cause of
action are: duty (id. at §247d-6d(b), (d)(1); breach (id. at §1247d-6d(c), (e)(3)(A); causation (id. at § 247d-6d(e)(3)(B);
and injury/loss (id. at §247d-6d(a)(2)(A), (e)(3)(C). The PREP Act sets a standard of liability (id. at §247d-6d(c)(1))
and a burden of proof (id. at §247d-6d(c)(3)). And the ways in which the PREP Act duties can be breached are itemized
in §247d-6d(c)(1)(A). Accordingly, Maglioli is not yet final or binding on this Court.

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perpetrated by defendants for the wrongful purpose of, among others, keeping plaintiff’s decedent

as a resident in the community so that defendants could earn additional fees. See Exhibit A.

       42.     And to the extent that the Complaint asserts any non-willful claims, they are subject

to the Court’s supplemental jurisdiction under 28 U.S.C. §1367 because they are “so related to the

willful misconduct claims … that they form part of the same case or controversy.” Moreover, as

long as one claim triggers complete preemption, there is federal jurisdiction over the entire suit.

Smallwood v. Allied Van Lines, Inc., 660 F.3d 1115, 1120 (9th Cir. 2011) (“district court had subject

matter jurisdiction if at least one of [plaintiff’s] claims were completely preempted”); see also

Giles v. NYL Care Health Plans, Inc., 172 F.3d 332, 337-38 (5th Cir. 1999).


               B.       The PREP Act applies to plaintiff’s claims.

               1. Defendants are “covered persons” under the statute.

       43.     The PREP Act applies to “covered persons” who administer or use a “covered

countermeasure” during a “recommended activity” in relation to COVID-19. 42 U.S.C. §247d-6d.

       44.     Pursuant to the Act, a “covered person” includes, inter alia, “program planners”

and “qualified persons” who prescribe, administer, or dispense covered countermeasures. 42

U.S.C.§247d-6d(i)(2).

       45.     “Qualified persons” include licensed health professionals and other individuals

authorized to prescribe, administer, or dispense covered countermeasures under state law, as well

as other persons identified in a declaration by the Secretary. 42 U.S.C. §247d-6d(i)(8).

       46.     “Program planners” include state and local governments or other persons who

supervise or administer programs that dispense, distribute, or administer covered countermeasures,

or provide policy guidance, facilities, and scientific advice on the administration or use of such

countermeasures. 42 U.S.C. §247d-6d(i)(6).


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        47.      The meaning of “program planner” and “qualified person” has been clarified as

follows:

                 …State or local government, including an Indian tribe, a person
                 employed by the State or local government, or other person who
                 supervised or administered a program with respect to the
                 administration, dispensing, distribution, provision, or use of a
                 security countermeasure or a qualified pandemic or epidemic
                 product, including a person who has established requirements,
                 provided policy guidance, or supplied technical or scientific advice
                 or assistance or provides a facility to administer or use a covered
                 countermeasure in accordance with [the Secretary’s declaration].

42 U.S.C. §247d-6d[i][6] (Emphasis supplied).

        48.      Under the Secretary’s declaration, “[A] private sector employer or community

group or other ‘person’ can be a program planner when it carries out the described activities.”

85 Fed. Reg. at 15,202.

        49.      Furthermore, on August 14, 2020, the HHS Secretary’s Office of General Counsel

confirmed that senior living communities are “covered persons” subject to immunity under the

PREP Act as “program planners” and “qualified persons.” [OGC Letter to Thomas Barker.] The

Office of General Counsel also published a Guidance confirming that COVID testing in nursing

homes is a covered countermeasure triggering the Act. 9

        50.      On October 23, 2020, the HHS Office of the General Counsel’s Advisory Opinion

No. 20-04 (“AO 20-04”) verified that the term “program planner” is broadly defined. 10 The opinion

also explained that PREP Act coverage will apply to a covered person using a covered




9
 HHS, Office of the General Counsel, Letter to Thomas Barker, Foley Hoag LLP (Aug. 14, 2020) available at
https://www.govinfo.gov/content/pkg/FR-2020-08-24/pdf/2020-18542.pdf [Aug. 31, 2020].
10
  HHS, Office of the General Counsel, “Advisory Opinion No. 20-04 on the Public Readiness and Emergency
Preparedness Act and the Secretary’s Declaration Under the Act” (Oct. 22, 2020, as modified Oct. 23, 2020),
available at (https://www.hhs.gov/guidance/sites/default/files/hhs-guidance-
documents/AO%204.2_Updated_FINAL_SIGNED_10.23.20.pdf [Advisory Opinion 20-04.]

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countermeasure in accordance with any public health guidance from an “Authority Having

Jurisdiction.”

       51.       The January 8, 2021 AO 21-01 more broadly outlined that a “program planner”

under the Act is “someone who is involved in providing or allocating covered countermeasures,”

and that “program planning inherently involves the allocation of resources.” The Advisory Opinion

thereby concluded that “decision-making that leads to the non-use of covered countermeasures by

certain individuals is the grist of program planning and is expressly covered by [the] PREP Act.”

       52. Defendants qualify as a “covered persons” under the PREP Act. During the relevant

time period set forth in the Complaint, defendants acted as both a “qualified person” and a

“program planner” in that defendants operated a senior living community licensed by the

Commonwealth of Pennsylvania as alleged in the Complaint.

       53.       Defendants also employed various medical professionals including administrators,

nursing personnel and nursing aides who were authorized to allocate, administer, prescribe, and

dispense the covered countermeasures described in plaintiff’s Complaint, including, COVID

testing materials. Additionally, as alleged in the Complaint, these individuals developed,

administered, and oversaw policies, procedures, and programs related to infection control, which

included     decisions   and   considerations   regarding      testing,   COVID   precautions   and

countermeasures, visitor restrictions and patient isolation.

       54.       Defendants were “program planners” since they admittedly are alleged to have

supervised or administered a program with respect to the administration, dispensing, distribution,

provision, or use of covered countermeasures, which included decisions pertaining to the

allocation and administration of covered countermeasures such as testing, as well as how to

administer their countermeasure program during the relevant time period. Defendants’ actions with



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respect to the coordination and implementation of COVID-19 countermeasure infection control

programs inherently involved conscious decision making relating to the administration of COVID-

19 testing, including the timing and reporting of such results.

       55.     The decisions with respect to the reporting of COVID-19 testing results and the

decisions as to the management of defendants’ countermeasure program in providing safe

accommodations for their residents during the pandemic (and even including--isolation of

residents for infection prevention and visitor restrictions) go directly to the heart of the Complaint.

       56.     This matter also does not involve nonfeasance or total inaction but instead relates

to the propriety of defendants’ decisions in managing their COVID-19 countermeasure and

infection control program and the manner in which it was implemented by defendants, including

decisions pertaining COVID-19 testing, thereby implicating the PREP Act.


               2.      Plaintiff’s claims arise from defendants’ use and administration of
                       “covered countermeasures.”

       57.     The PREP Act is invoked when there is an allegation of a claim for loss “caused

by, arising out of, relating to, or resulting from the administration to or the use by an individual of

a covered countermeasure” to prevent, mitigate or treat COVID-19. 42 U.S.C. §247d-6d(a)(1)

(emphasis added),

       58.     Under the PREP Act, a “covered countermeasure” includes: “(1) a qualified

pandemic or epidemic product (as defined in §247d-6d (i)(7)) . . . or (4) a respiratory protective

device that is approved by the National Institute for Occupational Safety and Health (“NIOSH”)

and that the HHS Secretary determines to be a priority for use during a public health emergency

declared under section 247d.” 42 U.S.C. §247d-6d(i)(1). A “qualified pandemic or epidemic

product” is defined as: a drug, biologic product or device that is:



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                 “(A)(i) a product manufactured, used, designed, developed,
                 modified, licensed, or procured—

                          (I) to diagnose, mitigate, prevent, treat, or cure a pandemic
                          or epidemic; or
                          (II) to limit the harm such pandemic or epidemic might
                          otherwise cause;
                          (ii) a product, manufacture, used, designed, developed,
                          modified, licensed, or procured to diagnose, mitigate,
                          prevent, treat, or cure a serious of life-threatening disease
                          or condition caused by a product described in clause (i); or
                          (iii) a product or technology intended to enhance the use or
                          effect of a drug, biologic product, or device described in
                          clause (i) or (ii); and

                 (B)(i) approved or cleared under chapter V of the Federal Food,
                 Drug, and Cosmetic Act or licensed under section 262 of this title;
                         (ii) the object of research for possible use as described in
                         subparagraph (A) and is the subject of an exemption under
                         section 505(i) or 520(g) of the Federal Food, Drug,      and
                         Cosmetic Act; or
                         (iii) authorized for emergency use in accordance with section
                         564, 564A, or 564B of the Federal Food, Drug and Cosmetic
                         Act.”

See 42 U.S.C. §247d-6d(i)(7).

        59.      The March 17, 2020 Declaration expanded the categories of “covered

countermeasures” eligible for immunity to include any device used to treat, diagnose, cure, prevent

or mitigate COVID-19 or its spread. 11 The Declaration was subsequently amended to add

respiratory protective devices like COVID tests to the list of covered countermeasures. See 42

U.S.C. §247d-6d(i)(1)(D); see also 85 Fed. Reg. at 21,014.




11
   To date, a large number of diagnostic tests for using in detecting or preventing the spread of COVID-19 have
been approved, licensed, or cleared by the FDA, or are subject to an EUA. See FDA Combatting COVID-19 with
Medical Devices, https://www.fda.gov/media/136702/download. HHS retroactively “extended PREP Act coverage
to licensed health care practitioners prescribing or administering FDA-authorized COVID-19 tests” in October 2020,
and even confirmed that PREP Act coverage extends to “of-label (outside the authorization) use. Letter from the
Secretary of HHS, dated August 31, 2020, https://www.hhs.gov/guidance/sites/default/files/hhs-guidance-
documents/prep-act-coverage-for-screaning-in-congregate-settings.pdf.

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       60.     On June 8, 2020, the Declaration was amended again to reflect the HHS’s original

intent to “identify the full range of qualified countermeasures” as permitted under the PREP Act.

85 Fed. Reg. 35100. Thus, a covered countermeasure includes a broad range of products and

devices specified as: (i) a qualified pandemic or epidemic product; (ii) a security countermeasure;

(iii) a drug, biological product, or device that the U.S. Food and Drug Administration (FDA) has

authorized for emergency use; and (iv)a NIOSH-approved respiratory protective device.

       61.     Immunity provided under the PREP Act applies not only to claim that result from

the actual use of specific products, but also from all activities and decisions that go along with

such use, such as the running of a countermeasure distribution program or facility (i.e., “program

planning”).

       62.     In this case, plaintiff has alleged that defendants implemented “precautions” in

response to the pandemic, including the creation of a “COVID-19 Task Force” and the

administration of “COVID protocols, policies, procedures, safety measures” that included COVID

testing and reporting, isolation rules, visitation restrictions, and changes in resident care programs

and other services, so as “to provide an umbrella of safety for residents” during the pandemic. See

Exhibit A, ¶¶ 23-31.

       63.     In addition, plaintiff contends that defendants did not properly implement these

COVID countermeasure protocols in that they did not timely report to residents and their families

allegedly positive COVID-19 test results among residents of Rose Tree Place until April 22, 2020,

when defendants, for the first-time, notified residents and others about a resident testing positive

for COVID-19. Defendants deny these allegations but taking these allegations at face value for

purposes here, defendants’ decisions as to how to administer COVID-19 testing, including the

timeliness of disclosure of any positive results, are acts “related” to the “administration of a



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countermeasure program or facility.” Plaintiff’s claims for damages thus allegedly resulted from

defendants’ “program planning” and how defendants administered their countermeasure program

or facility.

        64.     Plaintiff’s claims therefore relate directly to use and administration of

countermeasures, including COVID testing materials that qualify as pandemic or epidemic

products under the PREP Act. 12


                 3.      There is a causal nexus between defendants’ administration or use of
                         covered countermeasures and plaintiff’s claims of loss.

        65.      The PREP Act “applies to any claim for loss that has a causal relationship with the

administration to or use by an individual of a covered countermeasure, including a causal

relationship with the . . . distribution . . . purchase, donation, dispensing, prescribing,

administration, licensing, or use of such countermeasure.” 42 U.S.C. §247d-6d (a)(2)(B).

        66.      While the term “administration” is undefined in the PREP Act, the Declaration

explained that “Administration of a Covered Countermeasure means physical provision of the

countermeasures to recipients, or activities and decisions directly relating to public and private

delivery, distribution, and dispensing of the countermeasures to recipients; management and

operation of countermeasure programs; or management and operation of locations for purpose of

distributing and dispensing countermeasures.” 85 Fed. Reg. at 15,200. Thus, the definition of

“administration” extends not only to the physical provision of countermeasures to recipients, such

as COVID-19 tests, but also “to activities related to management and operation of programs and

locations for providing countermeasures to recipients, such as decisions and actions involving




12
   https://www.fda.gov/medical-devices/coronavirus-disease-2019-covid-19-emergency-use-authorizations-medical-
devices/in-vitro-diagnostics-euas-molecular-diagnostic-tests-sars-cov-2

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security and queuing, but only insofar as those activities directly relate to the countermeasure

activities.” Id.

        67.        HHS has confirmed time and again that “administration” under the PREP Act

encompasses activities related to “management and operation” of COVID-19 countermeasure

programs and those facilities that provide countermeasures to recipients. See Advisory Opinion

20-04 on the Public Readiness and Emergency Preparedness Act and the Secretary's Declaration

under the Act, p. 6-7 (October 23, 2020).

        68.        “[D]ecision-making” related covered countermeasures “is expressly covered by the

PREP Act.” See Advisory Opinion 21-01 on the Public Readiness and Emergency Preparedness

Act and the Secretary's Declaration under the Act, p. 4 (January 8, 2021

        69.        And notably, test reporting is a necessary part of the administration of the COVID-

19 diagnostic test, because it is part of the "management and operation of the countermeasure

program" and involves “activities and decisions directly relating to public and private delivery,

distribution and dispensing of the countermeasures” to mitigate the spread of COVID-19. See

Declaration, 85 Fed. Reg. at 15,202; HI-IS, “COVID-19 Pandemic Response, Laboratory Data

Reporting:          CARES          Act       Section       18115,”       January        8,      2021,

https://www.hhs.govisites/default/files/covid-19-laboratory-data-reporting-guidance.pdf.

        70.        Significantly, Maglioli confirms that the Secretary of HHS has broad and extensive

non-reviewable authority for all substantive applications of the PREP Act, as bestowed on him by

Congress. Maglioli, 16 F.4th at 401. Specifically, the Third Circuit Court declared that “the

Secretary controls the scope of immunity through the declaration and amendments, within the

confines of the PREP Act.” The Secretary defines those “acts and omissions” that fall under the

Act. Id.



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       71.     The Office of the Secretary has further confirmed -- including in AO 21-01 -- that

the PREP Act is triggered with regard to “a conscious decision” as to how and when covered

countermeasures are administered.

       72.     The Advisory Opinion clarifies that the PREP Act should be applied to the broadest

extent possible, and even in rare instances where a plaintiff argues that “defendant failed to make

any decisions whatsoever,” federal courts are “free to entertain discovery to ascertain, for

jurisdictional purposes, the facts underlying the complaint.” (citing United Surgical Assistants,

LLC v. Aetna Life Ins. Co., 2014 WL 4059889 at *1 (M.D. Fla. Aug. 14, 2014).

       73.     In the present matter, plaintiff’s Complaint on its face alleges willful misconduct

and other claims arising from Rose Tree Place’s administration of and program planning with

regard to COVID-19 countermeasures.

       74.     Plaintiff specifically alleges that defendants implemented “precautions” in

response to the pandemic, including the creation of a “COVID-19 Task Force” and the

administration of “COVID protocols, policies, procedures, safety measures” that included COVID

testing and reporting, isolation rules, visitation restrictions, and changes in resident care programs

and other services, so as “to provide an umbrella of safety for residents” during the pandemic. See

Exhibit A, ¶¶ 23-31. Plaintiff further contends that defendants sent residents, their families and

friends, email updates to share information concerning COVID-19, but plaintiff criticizes the

management of their COVID countermeasure program including as to testing.

       75.     It is therefore clear that defendants are alleged to have made conscious decisions

concerning administration and use of their COVID-19 countermeasure infection control program,

in their efforts to prevent the spread of COVID-19. The actions allegedly taken by defendants in

this matter are precisely the types of actions—administration and use of countermeasures and



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program planning—which fall under and are to be given “sweeping” protections under the PREP

Act.

       76.     Accordingly, plaintiff alleges facts that arise out of and relate to the administration

and use of COVID countermeasures including a COVID-19 diagnostic test, and the facts squarely

satisfy the elements of PREP Act willful misconduct. See 42 U.S.C. §247d-6d(c)(1)(A). The PREP

Act therefore provides an exclusive federal cause of action for Plaintiff’s claims, giving rise to

original federal jurisdiction, and as a consequence allows removal under 28 U.S.C. §1441.


             II.     JURISDICTION ALSO EXISTS PURSUANT TO THE FEDERAL
                      OFFICER REMOVAL STATUTE (28 U.S.C. § 1442(a)(1)

       77.     Removal is also proper under 28 U.S.C. §1442(a)(1), which provides for removal

when a defendant is sued for acts undertaken at the direction of a federal officer.

       78.     Under the Federal Officer Removal Statute, a federal court has jurisdiction over a

civil action that is directed at “[t]he United States or any agency thereof or any officer (or any

person acting under that officer) of the United States or of any agency thereof, in an official or

individual capacity, for or relating to any act under color of such office.” 28 U.S.C. §1442(a)(1).

       79.     The statute is premised on the existence of a “federal interest in the matter” and the

need to enforce “federal law through federal officials.” Willingham v. Morgan, 395 U.S. 402, 406

(1969) (“right of removal under §1442(a)(1) is made absolute whenever a suit in a state court is

for any act ‘under color’ of federal office, regardless of whether the suit could originally have been

brought in a federal court”). Unlike the general removal statute, the Federal Officer Removal

Statute is to be “broadly construed” in favor of a federal forum. See Sun Buick, Inc. v. Saab Cars

USA, Inc., 26 F.3d 1259, 1262 (3d Cir. 1994); In re Commonwealth’s Motion to Appoint Counsel,

790 F.3d 457, 466-67 (3d Cir. 2015) (“Defender Ass’n”).



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        80.     This case is removable pursuant to §1442(a) because “(1) defendants are ‘persons’

within the meaning of the statute; (2) plaintiff’s claims are based upon defendants’ conduct ‘acting

under’ the United States, its agencies, or its officers; (3) plaintiff’s claims are ‘for or relating to’

an act under color of federal office; and (4) defendants raise a colorable federal defense to

plaintiff’s claims.” Papp v. Fore-Kast Sales Co., 842 F.3d 805, 811 (3d Cir. 2016). All

requirements for removal under §1442(a)(1) are satisfied here.

                A. Corporate defendants are “persons” within the meaning of the statute.

        81.    Corporate defendants qualify as “persons” under the Federal Officer Removal

Statute. Watermark Communities, LLC and Watermark Operator, LLC are corporate entities, and

corporations are “person[s]” pursuant to Section 1442(a)(1). Papp, 842 F.3d at 812 (for purposes

of Section 1442(a), “a corporation is in legal fact a person” (citing 1 U.S.C. §1)).


                B.      Defendants were “acting under a federal officer” because they were
                        involved in an effort to assist or to help carry out the duties or tasks of
                        a federal superior.

        82.     To satisfy the second requirement (“acting under” a federal officer) of the statutory

test, “a private person’s actions ‘must involve an effort to assist, or to help carry out, the duties or

tasks of the federal superior.’” Watson v. Philp Morris Cos., 551 U.S. 142, 152 (2007). Federal

courts “have explicitly rejected the notion that a defendant could only be ‘acting under’ a federal

officer if the complained-of conduct was done at the specific behest of the federal officer or

agency.” Papp, 842 F.3d at 813.

        83.     A private party need not act as an agent of a federal agency. Rather, it is enough

that the person is acting on behalf of the officer in a manner akin to an agency relationship. Doe v.

UPMC, No. 2:20-cv-359, 2020 U.S. Dist. LEXIS 136077, at *9 (W.D. Pa. July 31, 2020); City of

San Mateo v. Chevron Corp., 960 F.3d 586, 599 (9th Cir. 2020) (citing Watson, 551 U.S. at 151)


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       84.     In particular, the Supreme Court has noted that federal officer jurisdiction can be

found “[w]here a private person acts as an assistant to a federal official in helping that official to

enforce federal law.” Id. The Supreme Court has stated:

               [T]he removal statute applies to private persons “who lawfully
               assist” the federal officer “in the performance of his official duty”
               … if they were “authorized to act with or for [federal officers or
               agents] in affirmatively executing duties under … federal law.”

Watson, 551 U.S. at 151 (quoting Davis v. South Carolina, 107 U.S. 597, 600 (1883) and City of

Greenwood v. Peacock, 384 U.S. 808, 824 (1966)).

       85.     Here, defendants were subject to “direct and detailed control” of the federal

government. See Paldrmic v. Altria Corp. Servs., Inc., 327 F. Supp. 2d 959, 964 (E.D. Wis. 2004).

“Critical under the statute is to what extent defendants acted under federal direction at the time

they were engaged in the conduct now being sued upon.” Ryan v. Chemical Co., 781 F. Supp. 934,

947 (E.D.N.Y. 1992) (private party can remove if it can show that conduct for which it is being

sued is “closely linked to detailed and specific regulations”). This test has been described as one

of “regulation plus.” Bakalis v. Crossland Sav. Bank, 781 F. Supp. 140, 145 (E.D.N.Y. 1991) (“The

rule that appears to emerge from the case law is one of ‘regulation plus . . .’.”). This line of cases

was summarized in Ryan:

               An examination of previous cases in which private corporations and
               individuals have been allowed removal under section 1442(a)(1) is
               helpful in establishing the indicia of official control necessary to
               warrant removal. The rule established is that removal by a ‘person
               acting under’ a federal officer must be predicated upon a showing
               that the acts that form the basis for the state civil or criminal suit
               were performed pursuant to an officer’s direct orders or to
               comprehensive and detailed regulations. Cf. Bakalis v. Crossland
               Sav. Bank, 781 F. Supp. 140, 144-45 (E.D.N.Y. 1991) (‘The rule




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               that appears to emerge from the case law is one of ‘regulation plus .
               . .’.’).

781 F. Supp. at 947.

       86.     Defendants’ assistance to the federal government in its efforts to control the spread

of COVID-19 went far beyond a mere response to any purported federal regulation and satisfied

both the Watson “instruction, direction, or guidance” and “regulation plus” tests.

       87.     At the outset of the pandemic, HHS identified medical and healthcare providers as

its “critical partners”, and the federal government also designated them as members of the

nation’s “critical infrastructure.” Moreover, the broad purpose of the PREP Act is to provide a

unified, rapid federal response to a national public health threat, and to prevent critical partners

from being distracted by the cost and conflicting standards of litigation in multiple forums. 85

Fed. Reg. 79,190, 79,190 and 79,191 (noting the PREP Act allows for a “unified, whole-of-nation”

response). These providers—including defendants—had a “special responsibility” to assist the

government in its efforts to mitigate the spread of the virus, continue operations, and ensure

implementation of federal, state and local mandates and directives in the interest of public safety

and delivery of critical infrastructure services. See, e.g., HHS Ofc. of Gen Counsel, Response

Letter to Thomas Baker (Aug. 14, 2020), 1, 2, n. 3; 85 Fed. Reg. at 15, 202 (state licensed facilities

are “authorized in accordance with the public health and medical emergency response of the

AHJ”); 85 Fed. Reg. 79,190 n. 6 (noting “authorizations that the HHS Office of the Assistant

Secretary for Health (OASH) has issued as an Authority Having Jurisdiction” to Nursing Homes

and Assisted Living Facilities); Id. at 79,193 n. 17 (referencing “examples” of Covered Persons

“authorized in accordance with the public health and medical emergency response of the Authority

Having Jurisdiction to prescribe, administer, deliver, distribute or dispense the Covered

Countermeasures”); 79,195, n. 20 (determining Nursing Homes and Assisting Living Facilities to


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be qualified persons and citing “Guidance for PREP Act Coverage for COVID-19 Screening Tests

at Nursing Homes, Assisted-Living Facilities, Long-Term-Care Facilities, and other Congregate

Facilities”).

         88.      The PREP Act and nearly all of HHS’s COVID-19 directives declare that the

federal government relied on its close, directed relationship with licensed senior assisted living

communities for its “whole-of-nation” response. In fact, HHS distinguishes healthcare entities like

defendants as a subset of potential “program planners.” See AO 20-04. While HHS “re-emphasizes

the breadth of PREP Act immunity” for potential program planners and qualified persons

otherwise administering or using countermeasures, it notes that “[s]uch entities are not limited to

healthcare professionals” but distinguishes “healthcare companies that are part of a government

response to the COVID-19 pandemic.” Id.

         89.      The PREP Act is just on component of HHS’s broad authority under the larger

Public Health Services Act (“PHSA”). 42 U.S.C. §201, et seq. (providing for the federal

supervision of public/private health service provision and federal-state cooperation). Pursuant to

the PHSA and the PREP Act, HHS is authorized to deputize private entities to support the national

coordinated response and set the breadth of protections in exchange for their participation. 42

U.S.C. §§247d-6d(b)(3)(A-B), (d), (i)(2), (i)(6). Congress has provided that HHS will determine

which “private corporation” acting as a “person” under the PREP Act will be utilized as “program

planner” and thereby be authorized to administer a countermeasure program or facility pursuant to

HHS and AHJ direction. 13


13
   Additionally, Congress expressly refers to federal officer involvement in subsections (d)(1) and (f) of 42 U.S.C. §
247d-6d. In subsection (f), Congress provides that federal “agencies” (such as HHS), “instrumentalities” (such as
AHJs, healthcare infrastructure participants, and senior living facilities), and “officers” (such as program planners)
will keep federal statutory protection, such as § 1442(a), regardless of any provision of the PREP Act: § 247d-6d(f)
(emphasis added). Subsection (f) refers to the types of legal protections for federal officers, such as Defendant, by
citing to “other provisions of law,” “any defense protection,” and “any other law” which would include the protections

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         90.      During the COVID-19 pandemic, HHS bolstered its healthcare infrastructure by

marshaling public and private healthcare resources led by a coordinated network of government

AHJs. HHS expressly likened declared program planners such as defendants to federal contractors

referring numerous times in its Declaration to PREP Act protections extending not only to those

entities having federal contracts, but to those authorized under AHJs to administer, distribute, and

dispense countermeasures. 85 Fed. Reg. at 15,200-15,200. HHS explains that the PREP Act

protections also apply to the “officials, agents, employees, and volunteers” of AHJs such as

defendant Rose Tree Place which was a state licensed senior assisted living community.

         91.      Also, while immunity is broad for program planners and many may be eligible to

become a program planner, HHS emphasizes that:

                  [L]iability immunity is afforded to Covered Persons only for
                  Recommended Activities involving Covered Countermeasures that
                  are related to (1) federal agreements or (2) [a]ctivities authorized in
                  accordance with the public health and medical response of the
                  Authority Having Jurisdiction to prescribe, administer, deliver,
                  distribute or dispense the Covered Countermeasures following a
                  Declaration of an emergency.

AO 20-04, 4, (citing Declaration, 85 Fed. Reg. at 15, 202). This language demonstrates that HHS

recognized defendants as a licensed facility (here akin to a federal contractor with “federal

agreements”) working under its AHJs to fight COVID-19 pursuant to the federal government plan.

Id. This is one demonstration of HHS’s direction and control of defendants through the federal

government’s state level AHJ partners during the pandemic. 85 Fed. Reg. at 15, (defining and


of §1442(a). Subsection (f) also refers to two categories of federal agents to be protected: “instrumentalities” and
“officers” of HHS. Subsection (f)’s assurance of statutory protections of federal instrumentalities and officers is
expressly incorporated into subsection (d)(1) of the PREP Act: “Subject to subsection (f), the sole exception to
immunity from suit…shall be for an exclusive Federal cause of action…” § 247d-6d(d)(1) (emphasis added). By
incorporating subsection (f) into subsection (d)(1), Congress makes clear that the creation of the PREP Act cause of
action is not abrogating or limiting in any federal protection, such § 1442, that otherwise bestowed upon an
instrumentality or officer on the of federal government’s agencies. Thus, it is clear Congress anticipated that a public
health crisis, such as the COVID-19 pandemic, would involve private federal officers and instrumentalities which
would need all protections afforded by federal law, including 28 U.S.C. § 1442(a).

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declaring PREP Act “covered” persons to be those licensed entities formally working through

HHS’s AHJs).

         92.      Such direction and control during the limited period of the COVID-19 Declaration

clearly illustrates federal surrogacy and substantiates the “acting under” prong of 28 U.S.C.

§1442(a). 14

         93.      Moreover, beginning in January 2020, in response to the pandemic and national

state of emergency, the CDC began issuing extremely detailed and pervasive directives to

healthcare facilities as members of the nation’s critical infrastructure and as part of the coordinated

national effort to respond to and contain the COVID-19 pandemic.

         94.      Throughout the pandemic, the CDC specifically instructed facilities to take or not

take particular clinical and operational actions.

         95.      For example, in January and February 2020, the CDC issued a number of health

updates regarding COVID-19, as well as criteria to guide the evaluation and testing of patients

under investigation (“PUI”) for COVID-19. Healthcare providers were advised to identify PUI

based on clinical features - travel to an affected geographic region and contact with a person

confirmed to have tested positive for COVID-19. Persons meeting the PUI criteria were to be

tested and healthcare providers were advised to immediately notify their local or state health

department in the event they were evaluating a PUI. State health departments in turn were

instructed to immediately contact the CDC and complete a PUI case investigation form. Initially,

COVID-19 testing was conducted solely through the CDC. The CDC also instructed healthcare


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   Maglioli—which is not yet final (see footnote 8) and not binding -- misapplied the Watson test for federal officer
jurisdiction largely out of a fear of creating a “slippery slope”. Maglioli, 16 F.4th at 406. The Court worried that
“clergy, farmers, bus drivers” may be deemed federal officers if it recognized nursing facilities as federal officers. Id.
However such institutions do not have Letters or Declarations from HHS declaring them to be “program planners,”
“covered persons,” “qualified persons,” or “critical partners” in fighting COVID-19 under the PREP Act like
defendants in this action.

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providers to use standard, contact and airborne precautions when interacting with PUI. (See

January 8, 2020, CDC Health Update Outbreak of Pneumonia of Unknown Etiology (PUE) in

Wuhan China,; January 17, 2020 CDC Interim Infection Prevention and Control

Recommendations for Patients with Known or Patients Under Investigation for 2019 Novel

Coronavirus (2019-n-coV) in a Healthcare Setting; January 24, 2020 CDC Interim Infection

Prevention and Control Recommendations for Patients with Known or Patients Under

Investigation for 2019 Novel Coronavirus (2019-n-coV) in a Healthcare Setting.

       96.      Defendants’ actions and conduct were taken due to unprecedented and “strong

government intervention” which went beyond the “mere auspices of federal direction.” See Fung

v. Abex Corp., 816 F. Supp. 569, 572 (N. D. Cal. 1992).

       97.      Through federal directives issued by HHS, CDC and PA DOH, federal authorities

were making the operational decisions as it related to the clinical pandemic response in health care

facilities, including senior assisted living communities. This included making decisions with

respect to isolation and administering COVID-19 tests to be submitted to government-controlled

laboratories.

       98.      CDC directed facilities when to test patients and healthcare personnel and how to

prioritize testing. CDC also directed facilities on how to isolate patients.

       99.      Moreover, other courts have recognized that the designation as “critical

infrastructure” during the pandemic as relevant is assessing the requirement that an entity was

“acting under” the direction of federal officials for the purposes of removal. See Wazelle v. Tyson

Foods, Inc., 2021 WL 2637335 at *5 (N.D. Tex. Jun. 25, 2021); Fields v. Brown, 2021 WL 510620

at *3 (E.D. Tex. Feb. 11, 2021); Johnson v. Tyson Foods, Inc., No. 21-CV-01161-STA-JAY, 2021

WL 5107723, at *3 (W.D. Tenn. Nov. 3, 2021) (adopting the reasoning in Wazelle and Fields in



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finding removal appropriate where defendant acted beyond simple compliance with law and

helped carry out basic governmental tasks); Reed v. Tyson Foods, Inc., No. 21-CV-01155-STA-

JAY, 2021 WL 5107725, at *4 (W.D. Tenn. Nov. 3, 2021) (same).

       100.     In short, defendant’s response to the COVID-19 outbreak was directed by the

federal government.


               C. Plaintiff’s allegations arise from actions taken by defendants pursuant to
                  federal directives.

       101.     The next requirement, often referred to as the “nexus” or “causation” requirement,

demands that the alleged conduct have been undertaken “for or relating to” a federal office. To

meet this requirement, “it is sufficient for there to be a connection or association between the act

in question and the federal office.” Defender Ass’n, 790 F.3d at 471.

       102.     Here, a clear causal nexus exists between plaintiff’s claims and the actions taken

by defendants in responding to and administering care related to the COVID-19 outbreak. Plaintiff

alleges defendants engaged in wrongful conduct in the manner in which they managed their

COVID-19 countermeasure program in responding to the global crisis, all of which was done at

the direction of HHS, CDC and Pennsylvania DOH. Plaintiff further criticizes defendants’

execution of COVID-19 protocols and procedures set in place to prevent the spread of the virus.

       103.     At all relevant times, defendants in the present action, in preparation and response

to the COVID-19 outbreak, were acting at the specific instruction and oversight of the federal

government—specifically the HHS, and CDC—in responding to a federal effort to address the

ongoing national state of emergency. Defendants’ actions were taken “in an effort to assist, or to

help carry out, the duties or tasks” dictated by the CDC in responding to the COVID-19 pandemic.

This included acting in accordance with evolving and specific guidelines from CDC with respect

to: (1) infection control policies and procedures; (2) COVID-19 testing, administration, and
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processing; (3) PPE procurement; (4) PPE allocation; (5) admission and discharge of residents;

(6) managing visitors and outside persons; (7) staffing allocation and retention; (8) isolation

protocols and management, among multiple additional directives. Thus, a nexus plainly exists

between defendants’ actions under color of federal office and plaintiff’s claims.


               D. Defendants have raised a colorable defense based upon federal law.

       104.     Defendants meet the last requirement insofar as defendants assert a colorable

federal defense including, among others, their immunity and federal preemption under the PREP

Act. For the purposes of removal, the defense must merely be “colorable” and need not be “clearly

sustainable” as the purpose for the removal statute is to secure that the validity of the defense may

be tried in federal court. Willingham v. Morgan, 395 U.S. 402, 407 (1969).

       105.     As previously set forth, defendants assert that they are immune from liability in

this matter under the PREP Act as they are “covered persons” as contemplated by 42 U.S.C. §

247d–6d and the claims against them are preempted under the Act. (See pp. 16-24). In addition,

defendants assert that plaintiff has failed to exhaust his federal pre-litigation administrative

remedies under the PREP Act.

              III.     FEDERAL QUESTION JURISDICTION FURTHER EXISTS
                             UNDER THE GRABLE DOCTRINE

       106.     Advisory Opinion 21-01 issued by HHS and the Secretary’s Fourth Declaration

also support the view warranting federal jurisdiction under the embedded federal issue doctrine.

Under this doctrine, state law claims can give rise to federal jurisdiction when they “implicate

significant federal issues.” Grable, 545 U.S. at 312.

       107.     The embedded federal issue doctrine “captures the commonsense notion that a

federal court ought to be able to hear claims recognized under state law that nonetheless turn on



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substantial questions of federal law, and thus justify resort to the experience, solicitude, and hope

of uniformity that a federal forum offers on federal issues.” Id.

       108.     A federal forum is also important when substantial federal question[s] of great

federal interest are presented, even when raised by a complaint framed in terms of state law,

provided that resolution of the federal question is necessary to the resolution of the state-law

claim.” 1 Moore’s Manual--Federal Practice & Procedure §5.10 (2020).

               An issue may be substantial where the outcome of the claim could
               turn on a new interpretation of a federal statute or regulation which
               will govern a large number of cases. In other words, a case is more
               likely to be important to the federal system as a whole if it presents
               “a nearly ‘pure issue of law … that could be settled once and for
               all’” rather than an issue that is “fact-bound and situation-specific”
               and whose holding will more likely be limited to the facts of the
               case.

Municipality of Mayagüez v. Corporación Para el Desarrollo del Oeste, Inc., 726 F.3d 8, 14 (1st

Cir. 2013).

       109.    Thus, embedded federal jurisdiction may exist where “a federal issue is: (1)

necessarily raised, (2) actually disputed, (3) substantial, and (4) capable of resolution in federal

court without disrupting the federal-state balance approved by Congress.” Gunn v. Minton, 568

U.S. 251, 258 (2013) (citing Grable, 545 U.S. at 313-14).

       110.     In the context of the COVID-19 pandemic, which has affected every state in the

country, the present case raises substantial questions concerning the application of various

provisions of the PREP Act, including the broad immunity provision and the interpretation of the

exception for claims involving willful misconduct, as the Secretary explicitly recognized in the

Fourth Declaration:

               COVID-19 is a global challenge that requires a whole-of-nation
               response. There are substantial federal legal and policy issues, and
               substantial federal legal and policy interests within the meaning of

                                                                                                  34
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               Grable & Sons Metal Products, Inc. v. Darue Eng’g. & Mf’g., 545
               U.S. 308 (2005), in having a unified, whole-of-nation response to
               the COVID-19 pandemic among federal, state, local, and private-
               sector entities. The world is facing an unprecedented pandemic. To
               effectively respond, there must be a more consistent pathway for
               Covered Persons to manufacture, distribute, administer or use
               Covered Countermeasures across the nation and the world. Thus,
               there are substantial federal legal and policy issues, and substantial
               federal legal and policy interests within the meaning of Grable &
               Sons Metal Products, Inc. v. Darue Eng’g. & Mf’g., 545 U.S. 308
               (2005), in having a uniform interpretation of the PREP Act.

85 Fed. Reg. at 79197.

       111.     The Declaration interprets the PREP Act as expressing Congress’ intent for an

exclusive federal forum and notes that through the PREP Act, Congress delegated to the Secretary

“the authority to strike the appropriate Federal-state balance with respect to particular Covered

Countermeasures through PREP Act declarations.” Id. at 79198. The Grable doctrine and PREP

Act are, therefore, directly applicable to plaintiff’s claims and support this Court’s jurisdiction.

       112.     Further, AO 21-01 holds that “ordaining the metes and bounds of PREP Act

protection in the context of a national health emergency necessarily means the case belongs in

federal court.” This interpretation is consistent with the Supreme Court’s long-standing rule “that

in certain cases federal question jurisdiction will lie over state-law claims that implicate federal

issues.” Grable at 312.

       113.      Here, defendants have met the requirements warranting federal jurisdiction. First,

plaintiff brings claims arising from the alleged use or administration of covered countermeasures

in connection with the care and treatment provided to decedent. This necessarily raises an actual

disputed issue which is critical to the outcome of this case. Furthermore, the Advisory Opinion

confirms the express intention to have federal courts supersede and preempt state jurisdiction with

respect to the issues raised by plaintiff. Here, because the application of the PREP Act turns on

first impression issues of substantial and unresolved questions of federal law regarding federal
                                                                                                       35
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preemption and federal immunity, the claims trigger federal subject matter jurisdiction, consistent

with the principles in Grable. As such, these issues must be resolved in the federal court system.

       WHEREFORE, defendants, Watermark Communities, LLC f/k/a Watermark Retirement

Communities, Inc., Watermark Operator, LLC d/b/a Rose Tree Place, Cynthia Evans and Karen

Mlawsky, hereby notify plaintiff that the above-entitled action, formerly pending in the Court of

Common Pleas, Philadelphia County, Pennsylvania, has been removed from that state court to this

Federal Court. Should any question arise as to the propriety of this removal, defendants

respectfully request an opportunity to provide further briefing and oral argument.


                                              Respectfully submitted,

                                              LEWIS BRISBOIS BISGAARD & SMITH, LLP



                                             By:    /s/ Lawrence D. Jackson
                                                    Lawrence D. Jackson, Esq.
                                                    PA Attorney ID: 56140

                                                    Attorneys for Defendants, Watermark
                                                    Communities, LLC f/k/a Watermark
                                                    Retirement Communities, Inc., Watermark
                                                    Operator, LLC d/b/a Rose Tree Place,
                                                    Cynthia Evans and Karen Mlawsky
Date: January 10, 2022




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                                CERTIFICATE OF SERVICE

       I, Lawrence D. Jackson, Esquire, hereby certify that, on this date, I caused to be served the

foregoing Notice of Removal via email and First Class Mail, postage pre-paid, upon the

following:

                              Gerald B. Baldino, Jr. Esquire
                              Sacchetta & Baldino
                              308 East Second Street
                              Media, PA 19063




                                             /s/ Lawrence D. Jackson
                                             Lawrence D. Jackson, Esquire


DATED: January 10, 2022




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  EXHIBIT A


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   EXHIBIT B


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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

DEBBIE ANN BOLTON, surviving child of
Decedent, Ruth Clara Summers,

                               Plaintiff,
                                                          Civil Action No. 3:20-cv-00683
                    v.
                                                          CHIEF JUDGE CRENSHAW
GALLATIN CENTER FOR                                       MAGISTRATE JUDGE HOLMES
REHABILITATION & HEALING, LLC,

                               Defendant.



                  STATEMENT OF INTEREST OF THE UNITED STATES

        The United States respectfully submits this Statement of Interest, pursuant to 28 U.S.C. §

517, to address the preemptive effect of the Public Readiness and Emergency Preparedness Act (the

“PREP Act” or “Act”) , 42 U.S.C.A. §§ 247d-6d, 247d-6e (West 2020), should this Court find it

applicable in this case.

        COVID-19 presents an unprecedented global challenge, requiring a whole-of-nation

response. To encourage the efficient development and deployment of medical countermeasures

during such emergencies, in the PREP Act, Congress limited liability for losses related to the

administration or use of countermeasures, like diagnostics and treatments, that are specified by the

Secretary of Health and Human Services by declaration.

        As explained below, the PREP Act completely preempts claims relating to the administration

or use of covered countermeasures with respect to a public health emergency, as declared by the

Secretary. Therefore, cases that include such claims necessarily include federal questions and,

therefore, are removable. The United States is not a party to this litigation and takes no position as

to whether the Act applies to any particular claim alleged in Plaintiff’s Complaint in this case.



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However, the United States has an interest in having the PREP Act applied uniformly across

jurisdictions and across public health emergencies. The United States therefore respectfully submits

this Statement of Interest to assist the Court in resolving the pending motion to remand should the

Court determine that the allegations in Plaintiff’s Complaint fall within the ambit of the Act.

                                         BACKGROUND

       Congress has established procedures “to prepare for, protect against, respond to, recover

from, or mitigate” national emergencies, 6 U.S.C. § 314, and has provided that “[t]he Secretary of

Health and Human Services shall lead all Federal public health and medical response to” such

emergencies, 42 U.S.C. § 300hh. The PREP Act is a crucial part of the comprehensive federal effort

to promote the “[r]apid distribution and administration of medical countermeasures” in response to

a public health emergency, id. § 300hh-1(b)(2). The statute vests the Secretary with the authority to

determine the existence or credible future risk of a public health emergency, and to issue a

declaration recommending administration of specified countermeasures. See id. § 247d-6d(b).

       Successful distribution and administration of these countermeasures, including diagnostic

tests, therapeutics, and vaccines, depends on the cooperation of private-sector partners, as well as

state and local officials across the nation. To encourage such cooperation and to maximize the

efficiency of the national response to public health emergencies, Congress provided broad immunity

to “covered persons,” id. § 247d-6d(i)(2), for claims relating to the administration to or use by an

individual of countermeasures that aid in that response. Id. § 247d-6d(a) (including “claims for loss

caused by, arising out of, relating to, or resulting from the administration to or the use by an

individual of a covered countermeasure”).

       PREP Act immunity is sweeping, applying “to any claim for loss that has a causal

relationship with the administration to or use by an individual of a covered countermeasure,




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including a causal relationship with the design, development, clinical testing or investigation,

manufacture, labeling, distribution, formulation, packaging, marketing, promotion, sale, purchase,

donation, dispensing, prescribing, administration, licensing, or use of such countermeasure.” Id.

§ 247d-6d(a)(2)(B). In other words, all damages actions for conduct relating to covered persons’

administration of countermeasures specified in a PREP Act declaration are preempted.

       In place of tort remedies, Congress created the Covered Countermeasure Process Fund to

compensate eligible individuals for serious physical injuries or deaths from pandemic, epidemic, or

security countermeasures identified in declarations issued by the Secretary. See id. § 247d–6e. The

PREP Act also creates, as “the sole exception to the immunity from suit and liability,” an “exclusive

Federal cause of action against a covered person for death or serious physical injury proximately

caused by willful misconduct” of that person. Id. § 247d-6d(d)(1); see also id. § 247d-6d(c), (e)(1).

       In response to the COVID-19 pandemic, the Secretary of Health and Human Services has

issued a Declaration recommending the use of various “covered countermeasures.” See Declaration

Under the Public Readiness and Emergency Preparedness Act for Medical Countermeasures Against

COVID-19, 85 Fed. Reg. 15,198 (Mar. 17, 2020), amended by 85 Fed. Reg. 21,012 (Apr. 15, 2020),

and 85 Fed. Reg. 35,100 (June 8, 2020), and 85 Fed. Reg. 52,136 (Aug. 24, 2020), and 85 Fed. Reg.

79,190 (Dec. 4, 2020), available at https://www.phe.gov/Preparedness/legal/prepact/Pages/4-

PREP-Act.aspx.

       The Declaration defines “covered countermeasures” broadly to include “all qualified

pandemic and epidemic products under the PREP Act” (e.g., “any antiviral, any drug, any biologic,

any diagnostic, any other device . . . to diagnose, mitigate, prevent, treat, or cure COVID-19, or the

transmission of SARS-CoV-2 or a virus mutating therefrom,” that is approved or authorized for

emergency use by the Food and Drug Administration, among other products). Id. It interprets




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“administration” thereof to mean “physical provision of the countermeasures to recipients, or

activities and decisions directly relating to public and private delivery, distribution and dispensing

of the countermeasures to recipients, management and operation of countermeasure programs, or

management and operation of locations for the purpose of distributing and dispensing

countermeasures.” 85 Fed. Reg. at 79,197. The Declaration also states that “[p]rioritization or

purposeful allocation of a Covered Countermeasure, particularly if done in accordance with a public

health authority’s directive, can fall within the PREP Act and this Declaration’s liability protections.”

Id. In particular, “[w]here there are limited Covered Countermeasures, not administering a Covered

Countermeasure to one individual in order to administer it to another individual can constitute

‘relating to . . . the administration to . . . an individual’ under 42 U.S.C. 247d-6d.” Id. For example,

“where there is only one dose of a COVID-19 vaccine, and a person in a vulnerable population and

a person in a less vulnerable population both request it from a healthcare professional,” if the

“healthcare professional administers the one dose to the person who is more vulnerable to COVID-

19,” “the failure to administer the COVID-19 vaccine to the person in a less-vulnerable population

‘relat[es] to . . . the administration to’ the person in a vulnerable population” for PREP Act purposes.

Id. Additionally, the latest amendment to the Declaration states that the Declaration “must be

construed in accordance with the Advisory Opinions of the Office of the General Counsel” and

incorporates those Advisory Opinions as part of the Declaration. Id. at 79,194-95. 1



1
 See, e.g., Advisory Opinion on the Public Readiness and Emergency Preparedness Act and the
March 10, 2020 Declaration under the Act (Apr. 17, 2020, as modified on May 19, 2020),
available at https://www.hhs.gov/guidance/sites/default/files/hhs-guidance-documents/prep-act-
advisory-opinion-hhs-ogc.pdf; Advisory Opinion 20-02 (May 19, 2020), available at
https://www.hhs.gov/guidance/sites/
default/files/hhs-guidance-documents/advisory-opinion-20-02-hhs-ogc-prep-act.pdf; Advisory
Opinion 20-03 (Oct. 22, 2020, as modified on Oct. 23, 2020), available at
https://www.hhs.gov/guidance/sites/




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                                          STATEMENT

        The Supreme Court first recognized the doctrine of complete preemption as a basis for

federal-question removal jurisdiction under 28 U.S.C. § 1441(a) over 50 years ago, identifying the

Labor Management Relations Act as a complete-preemption statute. Avco Corp. v. Aero Lodge No.

735, Intern. Ass’n of Machinists & Aerospace Workers, 390 U.S. 557, 559 (1968). Since then, the

Court has extended the doctrine to two other statutes, the Employee Retirement Income Security Act

(“ERISA”) and the National Bank Act. See Beneficial Nat’l Bank v. Anderson, 539 U.S. 1, 7–11

(2003) (National Bank Act completely preempts state law); Metro. Life Ins. Co. v. Taylor, 481 U.S.

58, 67 (1987) (ERISA completely preempts state law); see also Aetna Health Inc. v. Davila, 542

U.S. 200, 210 (2004) (same). Notably, the Second Circuit has applied the doctrine to the Air

Transportation Safety and System Stability Act (“ATSSSA”), which is structurally similar to the

PREP Act. In re WTC Disaster Site, 414 F.3d 352, 375 (2d Cir. 2005). And a state appellate court in

New York has determined that the PREP Act is a complete-preemption statute, in response to

litigation stemming from the H1N1 flu pandemic. Parker v. St. Lawrence Cty. Pub. Health Dep’t,

102 A.D.3d 140, 143–45 (N.Y. App. Div. 2012) (dismissing state-law complaint for lack of

jurisdiction).

        Complete preemption is jurisdictional in nature: by establishing an exclusive federal cause

of action, a statute may permit removal via federal question jurisdiction even of a complaint pleading

only state-law causes of action. A complete-preemption statute reflects Congress’s intent to “so

completely pre-empt a particular area that any civil complaint raising [a] select group of claims is



default/files/hhs-guidance-documents/AO3.1.2_Updated_FINAL_SIGNED_10.23.20.pdf;
Advisory Opinion 20-04 (Oct. 22, 2020, as modified on Oct. 23, 2020), available at
https://www.hhs.gov/guidance/
sites/default/files/hhs-guidance-documents/AO%204.2_Updated_FINAL_SIGNED_10.23.20.pdf;
see also Advisory Opinion 21-01 (Jan. 8, 2021), Dkt. No. 32 at 3–7.


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necessarily federal.” Metro. Life Ins. Co., 481 U.S. at 63–64 (emphasis added). In other words, the

existence of such a powerfully preemptive federal cause of action causes the invalid assertion of a

state cause of action to raise a federal question, because “a claim which comes within the scope of

that [federal] cause of action, even if pleaded in terms of state law, is in reality based on federal law.”

Beneficial Nat’l Bank, 539 at 8; see Metro. Life Ins. Co., 481 U.S. at 65–66 (explaining that complete-

preemption provisions “convert[] an ordinary state common law complaint into one stating a federal

claim for purposes of the well-pleaded complaint rule”).

        “The proper inquiry focuses on whether Congress intended the federal cause of action to be

exclusive rather than on whether Congress intended that the cause of action be removable.”

Beneficial Nat’l Bank, 539 U.S. at 10 n.5. 2 It does not focus on the nature of any remedy the federal

court or law may or may not provide. Caterpillar Inc. v. Williams, 482 U.S. 386, 391 n.4 (1987)

(“The nature of the relief available after jurisdiction attaches is, of course, different from the question

whether there is jurisdiction to adjudicate the controversy . . . .” (quoting Avco Corp., 390 U.S. at

561)). Instead, the complaint, any statutes on which the claims are based, and any other relevant

materials (e.g., plan documents in an ERISA case) determine whether the plaintiff’s cause of action

falls “within the scope” of a completely preemptive statute. See Aetna Health Inc., 542 U.S. at 211.

It does not matter whether the complaint expressly raises a federal claim or cites the completely

preemptive federal statute—what matters is whether the complaint’s causes of action fall within the

federal statute’s scope (and are therefore necessarily federal and grounds for removal). See id.




2
  But see Palkow v. CSX Transp., Inc., 431 F.3d 543, 553 (6th Cir. 2005) (seemingly requiring that
“the federal statutory language demonstrates that Congress has manifested a clear intent that claims
not only be preempted under the federal law, but also that they be removable”). Although Palkow’s
language post-dates Beneficial National Bank, it cannot have disturbed the Supreme Court’s
rejection of any requirement to demonstrate Congressional intent to make certain claims removable
for complete preemption to apply. 539 U.S. at 10 n.5.


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       Thus, complete preemption is fundamentally unlike other, substantive preemption doctrines

(e.g., express, implied, field, conflict, impossibility, or obstacle preemption, which do not in and of

themselves give rise to removability. And complete preemption sidesteps the general rule that a

federal defense (like other, substantive types of preemption) does not provide grounds for removal

to federal court. See Metro. Life Ins. Co., 481 U.S. at 63, 66; Husvar v. Rapoport, 430 F.3d 777,

781–82 (6th Cir. 2005); see also Marin Gen. Hosp. v. Modesto & Empire Traction Co., 581 F.3d

941, 944–45 (9th Cir. 2009) (explaining the different types of preemption). “The rationale is that in

such situations the federal statutory laws ‘supersede both the substantive and remedial provision of

state’ law creating a strong form of federal preemption—presumably because of the additional need

for a strong form of national uniformity implied by Congress when it made federal court jurisdiction

exclusive after broadly preempting state law.” Ritchie v. Williams, 395 F.3d 283, 286 (6th Cir. 2005)

(quoting Beneficial Nat’l Bank, 539 U.S. at 11) (finding certain state-law copyright claims

completely preempted under the Copyright Act).

       The PREP Act is just such a complete-preemption statute with respect to the administration

or use of covered countermeasures by covered persons under a declaration by the Secretary.

Whenever a claim “for loss caused by, arising out of, relating to, or resulting from the administration

to or the use by an individual of a covered countermeasure” is brought against a covered person and

a declaration under subsection (b) has been issued, that claim is necessarily federal and removable.

42 U.S.C. § 247d–6d(a).

       Two key provisions of the PREP Act operate together to demonstrate its completely

preemptive nature: the immunity provision and the exclusive alternative remedy provision.

       First, the Act provides for immunity “under Federal and State law with respect to all claims

for loss caused by, arising out of, relating to, or resulting from the administration” of




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countermeasures specified by the Secretary. Id. § 247d-6d(a)(1) (emphasis added). “Loss” is broadly

defined to “mean[] any type of loss, including . . . physical, mental, or emotional injury, illness,

disability, or condition,” and “fear of physical, mental, or emotional injury, illness, disability, or

condition, including any need for medical monitoring.” Id. § 247d-6d(a)(2) (emphasis added). See

generally Parker, 102 A.D.3d at 143 (quoting subsection (a) as demonstrating completely

preemptive intent).

        Second, the Act establishes, as the “sole exception” to subsection (a)’s immunity grant, “an

exclusive Federal cause of action” for claims of willful misconduct resulting in death or serious

physical injury. 42 U.S.C. § 247d-6d(d)(1). It also establishes an exclusive venue for such excepted

claims: “only” before a three-judge panel of the United States District Court for the District of

Columbia. Id. § 247d-6d(e)(1), (e)(5). Even such excepted claimants, though, must first apply for

benefits through the federal Covered Countermeasure Process Fund, which permits individuals to

make no-fault benefits claims for certain injuries. See id. § 247d-6e(d)(1). See generally Parker, 102

A.D.3d at 144 (quoting subsection (d) as demonstrating completely preemptive intent).

        Together, these provisions show that Congress determined—in the limited context addressed

by subsection (a) involving claims relating to the administration or use of covered countermeasures

with respect to a public health emergency, as declared by the Secretary—that tort actions are not

necessary or appropriate to deter tortious conduct, intentional or negligent, except as provided in the

“exclusive” federal cause of action created by the statute itself. See 42 U.S.C. § 247d-6d(d)(1); see

also id. § 247d-6d(c)(1)(B) (The Act “establish[es] a standard for liability that is more stringent than

a standard of negligence in any form or recklessness.”); Parker, 102 A.D.3d at 143–44 (“Considering

the breadth of the preemption clause together with the sweeping language of the statute’s immunity

provision, we conclude that Congress intended to preempt all state law tort claims arising from the




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administration of covered countermeasures by a qualified person pursuant to a declaration by the

Secretary . . . .”).

         Moreover, reading these PREP Act provisions as completely preemptive accords with the

reasons Congress enacted the law. An effective response to national health emergencies depends on

the prompt and willing cooperation of private partners. Thus, the Act broadly immunizes covered

persons from claims relating to their administration of specified countermeasures, while specifying

exclusive alternative remedies for certain claims. Congress determined that the deterrent and

compensatory effects of tort liability, which might be salutary in other contexts, would undermine

the nation’s ability to protect itself from epidemics and pandemics. This balance forms one key part

of Congress’s comprehensive scheme for developing and sustaining a national pandemic response,

including the “[r]apid distribution and administration of medical countermeasures.” 42 U.S.C.

§ 300hh-1(b)(2).

         Two cases further support a completely preemptive reading of these PREP Act provisions in

applicable cases.

         In re WTC Disaster Site found in provisions of the ATSSSA “an intent to displace state-law

remedies entirely” for damages claims arising out of the hijacking of planes on September 11, 2001.

414 F.3d at 375. Those provisions included “an exclusive federal remedy” in the form of a federal

cause of action with exclusive venue in the United States District Court for the Southern District of

New York. Id. The Second Circuit relied heavily on the exclusive alternative cause of action in

finding that complete preemption applied, while also finding relevant the ATSSSA’s compensation

fund for victims. Id. at 373, 375. Congress passed the PREP Act, see Pub. L. No. 109–148, 119 Stat.

2680 (Dec. 30, 2005), just months after the In re WTC Disaster Site decision, see 414 F.3d at 352.

And it included analogous provisions: substituting an exclusive federal claim for state law claims,




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directing that such claims be filed in just one district court, and creating a victim compensation fund.

With a proper focus on “whether Congress intended the federal cause of action to be exclusive,”

Beneficial Nat’l Bank, 539 U.S. at 10 n.5, it becomes clear that the PREP Act provisions discussed

above “bespeak an intent to displace state-law remedies entirely for such damages claims” as fall

within their ambit, In re WTC Disaster Site, 414 F.3d at 375.

       Similarly, in Beneficial National Bank, the Supreme Court found the National Bank Act to

be completely preemptive for reasons equally applicable here: That statute provides “the exclusive

cause of action” for state usury claims against a national bank, 539 U.S. at 9, much like the PREP

Act does for state claims against covered persons relating to the administration of covered

countermeasures. The PREP Act “form[s] a system of regulations” for the nation’s response to public

health emergencies, displacing any state law that differs from or conflicts with it. Id. at 10 (quoting

Farmers’ & Mechanics’ Nat’l Bank v. Dearing, 91 U.S. 29, 32–33 (1875)). The PREP Act thus

“completely defines what constitutes” a cognizable claim against covered persons relating to the

administration of covered countermeasures. Id. (quoting Evans v. Nat’l Bank of Savannah, 251 U.S.

108, 114 (1919)). And the “same federal interest that protected national banks from . . . state

taxation” and interference supports similar protection for those vital to the nation’s pandemic

response. Id. at 11 (recognizing “the special nature of federally chartered banks”). “Because [the

PREP Act] provide[s] the exclusive cause of action for such claims, there is, in short, no such thing

as a state-law claim” of loss against a covered person relating to the administration of a covered

countermeasure. Id.

       A recent and oft-cited case to the contrary, Maglioli v. Andover Subacute Rehabilitation

Center, No. 20-6605, 2020 WL 4671091 (D.N.J. 2020), appeal docketed, No. 20-2834 (3d Cir.

Sept. 10, 2020), appears to have interpreted the complete preemption doctrine and the PREP Act




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imprecisely. Maglioli focuses almost entirely on subsection (b)(8), an express conflict-preemption

provision. See id. at *7, *9. 3 It relegates subsection (a) to mere “background.” Id. at *6. This

approach gets it backwards: subsections (a) and (d) operate together to demonstrate that Congress

intended an exclusive federal cause of action for “claims for loss” within (a)’s ambit, whereas (b)(8)

expressly preempts (without completely preempting, in a jurisdictional sense) other laws, legal

requirements, and therefore claims beyond (a)’s ambit. Thus, the court’s holding “that the PREP Act

does not so occupy the field as to squeeze out state court jurisdiction over what are state-law claims

of negligence and require an exclusive federal forum,” id. at *11, frames the inquiry incorrectly.

Field preemption is a different doctrine than complete preemption and the PREP Act does include a

completely preemptive provision, as evidenced by its creation of immunity for a certain class of

claims and an exclusive federal forum for exceptions to that immunity. 42 U.S.C. § 247d-6d(a),

(d)(1); see also Parker, 102 A.D.3d at 143 (citing subsection (b)(8) as demonstrating completely

preemptive intent). 4

        Moreover, these and other cases finding that the PREP Act did not completely preempt

certain claims should not be read to hold that the PREP Act is never completely preemptive. Rather,

such cases have typically found that the claims pleaded did not, in the court’s view, arise from the



3
 This provision expressly preempts (in the ordinary, non-jurisdictional sense) any state or local law
that conflicts with this part of the Act:
        no State or political subdivision of a State may establish, enforce, or continue in effect
        with respect to a covered countermeasure any provision . . . or requirement that . . .
        is different from, or is in conflict with, any requirement applicable under this section
        [§ 247d-6d] and relates to . . . the administration by qualified persons of the covered
        countermeasure.
42 U.S.C. § 247d-6d(b)(8).
4
  This is not to say that the Maglioli court got the result there incorrect as well. It may be that the
complaint there raised only claims outside subsection (a)’s ambit (i.e., claims that were not subject
to complete preemption) such that it was correct to remand that case. In any event, the Maglioli court
was correct to observe that careful “case by case analysis” is required. 2020 WL 4671091 at *9.


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use or administration of a covered countermeasure. See, e.g., Sherod v. Comprehensive Healthcare

Mgmt. Servs., LLC, No. 20-CV-1198, 2020 WL 6140474, at *7 (W.D. Pa. Oct. 16, 2020), appeal

docketed, No. 20-3287 (3d Cir. Nov. 10, 2020) (finding claims outside the purview of the PREP

Act); Martin v. Serrano Post Acute LLC, No. CV 20-5937 DSF (SKX), 2020 WL 5422949, at *2

(C.D. Cal. Sept. 10, 2020) (finding defendants provided no support for complete preemption

argument “other than stating the standard”), appeal docketed, No. 20-56067 (9th Cir. Oct. 16, 2020);

Haro v. Kaiser Found. Hosps., No. CV 20-6006, 2020 WL 5291014, at *3 (C.D. Cal. Sept. 3, 2020)

(“Haro’s minimum wage claim is not causally connected to any of Kaiser’s covered

countermeasures.”); Baskin v. Big Blue Healthcare, Inc., No. 2:20-cv-2267, 2020 WL 4815074, at

*6 (D. Kan. Aug. 19, 2020) (finding plaintiff’s claim of loss not causally connected or related to the

administration or use of covered countermeasures); Maglioli, 2020 WL 4671091, at *10 (finding

social distancing, quarantining, and other measures not covered countermeasures and therefore not

within the scope of the Act). Those cases are limited to their facts, which may or may not be

analogous to the Complaint in this case, and should not be read to hold that the PREP Act is not a

completely preemptive statute per se.

       Indeed, as discussed above, these PREP Act “provisions supersede both the substantive and

the remedial provisions of state [tort] laws and create a federal remedy for [certain claims of loss

relating to covered countermeasures] that is exclusive, even when a state complainant . . . relies

entirely on state law. Because [they] provide the exclusive cause of action for such claims, there is,

in short, no such thing as a state-law claim of [loss] against a [covered person in connection with

their use or administration of a covered countermeasure].” Beneficial Nat’l Bank, 539 U.S. at 11.




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                                         CONCLUSION

        The United States takes no position on whether the Complaint includes any claim that falls

within the ambit of 42 U.S.C. § 247d-6d(a), and thus necessarily takes no position as to whether

any particular claim in this case is completely preempted by the Act. If such a claim has been pled,

however, it is necessarily federal and the Complaint is removable because of the completely

preemptive nature of that PREP Act provision. 5



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5
  In doing so, “considerable weight should be accorded to” the Department of Health and Human
Services’ construction of the PREP Act (as evidenced in the Declaration and Advisory Opinions
incorporated into it cited above), because the Act is “a statutory scheme [HHS] is entrusted to
administer.” United States v. Mead Corp., 533 U.S. 218, 227–28 (2001) (quoting Chevron U.S.A.
Inc. v. Nat. Res. Def. Council, Inc., 467 U.S. 837, 844 (1984)).


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Dated: January 19, 2021.               Respectfully Submitted,

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                                CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing Statement of Interest of the United
States was filed on January 19, 2021 with the Court’s Electronic Case Filing System (CM/ECF),
and service was made upon all persons registered in this case, including:

       Clinton L. Kelly                      Howard Hayden
       F. Dulin Kelly                        Minton P. Mayer
       The Kelly Firm                        Quintairos, Prieto, Wood & Boyer, P.A.
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                                                    s/ Mark H. Wildasin
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JS 44 (Rev. 10/20)              Case 2:22-cv-00097-MSG
                                                   CIVILDocument
                                                         COVER1SHEET
                                                                 Filed 01/10/22 Page 81 of 85
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                       DEFENDANTS
       Estate of Clara T. Troilo, deceased, by Frank Troilo,
                                                                                                        Rose Tree Place, NSL Rose Tree Place, LLC, et al.
       Executor of the Estate of Clara T. Troilo
   (b) County of Residence of First Listed Plaintiff Gloucester                                         County of Residence of First Listed Defendant              Delaware
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                               (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                        NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                   THE TRACT OF LAND INVOLVED.

   (c)   Attorneys (Firm Name, Address, and Telephone Number)                                            Attorneys (If Known)

      Gerald B. Baldino, 308 E. Second St., Media, PA 19063       Lawrence D. Jackson, Lewis, Brisbois, Bisgaard & Smith,
      610-891-9212                                                LLP, 550 E Swedesford Road, Ste. 270, Wayne, PA 19087.
                                                                  215-977-4100
II. BASIS OF JURISDICTION (Place an “X” in One Box Only) III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                     (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government               ✖ 3   Federal Question                                                                   PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                     Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                    of Business In This State

  2    U.S. Government                 4   Diversity                                           Citizen of Another State            2          2   Incorporated and Principal Place           5         5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                          of Business In Another State

                                                                                               Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                 Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                  Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                           FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                       PERSONAL INJURY                  PERSONAL INJURY            625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                          310 Airplane                    365 Personal Injury -           of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                      315 Airplane Product                Product Liability       690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument                Liability                  367 Health Care/                                                                                   400 State Reapportionment
  150 Recovery of Overpayment         320 Assault, Libel &                Pharmaceutical                                               PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment            Slander                        Personal Injury                                               820 Copyrights                   430 Banks and Banking
  151 Medicare Act                    330 Federal Employers’              Product Liability                                             830 Patent                       450 Commerce
  152 Recovery of Defaulted                Liability                  368 Asbestos Personal                                             835 Patent - Abbreviated         460 Deportation
       Student Loans                  340 Marine                          Injury Product                                                    New Drug Application         470 Racketeer Influenced and
       (Excludes Veterans)            345 Marine Product                  Liability                                                     840 Trademark                        Corrupt Organizations
  153 Recovery of Overpayment              Liability                 PERSONAL PROPERTY                     LABOR                        880 Defend Trade Secrets         480 Consumer Credit
      of Veteran’s Benefits           350 Motor Vehicle               370 Other Fraud             710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
  160 Stockholders’ Suits             355 Motor Vehicle               371 Truth in Lending            Act                                                                485 Telephone Consumer
  190 Other Contract                      Product Liability           380 Other Personal          720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability x    360 Other Personal                  Property Damage             Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                           Injury                      385 Property Damage         740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                      362 Personal Injury -               Product Liability       751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                          Medical Malpractice                                         Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                     CIVIL RIGHTS                 PRISONER PETITIONS           790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation               440 Other Civil Rights          Habeas Corpus:              791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                     441 Voting                      463 Alien Detainee              Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment          442 Employment                  510 Motions to Vacate                                            870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                   443 Housing/                        Sentence                                                          or Defendant)                896 Arbitration
  245 Tort Product Liability              Accommodations              530 General                                                      871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property         445 Amer. w/Disabilities -      535 Death Penalty               IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                          Employment                  Other:                      462 Naturalization Application                                             Agency Decision
                                      446 Amer. w/Disabilities -      540 Mandamus & Other        465 Other Immigration                                                  950 Constitutionality of
                                          Other                       550 Civil Rights                Actions                                                                State Statutes
                                      448 Education                   555 Prison Condition
                                                                      560 Civil Detainee -
                                                                          Conditions of
                                                                          Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original             ✖   2 Removed from                 3      Remanded from             4 Reinstated or             5 Transferred from       6 Multidistrict                    8 Multidistrict
    Proceeding                 State Court                         Appellate Court             Reopened                    Another District           Litigation -                     Litigation -
                                                                                                                           (specify)                  Transfer                         Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                       28 U.S.C. Sections 1331, 1441, 1442(a)(1) and 42 U.S.C. 247d6d adn 85 Fed. Reg. 15198- PREP Act
VI. CAUSE OF ACTION                    Brief description of cause:
                                       Plantiff alleges liability related to health facility's response to COVID-19 outbreak.
VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                       DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                                                                          JURY DEMAND:          x Yes      No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                        JUDGE                                                              DOCKET NUMBER
DATE                                                                  SIGNATURE OF ATTORNEY OF RECORD
      January 10, 2022
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                   JUDGE                           MAG. JUDGE
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LEWIS BRISBOIS BISGAARD & SMITH, LLP
By:     Lawrence D. Jackson, Esquire
Identification No. 56140
550 E. Swedesford Road, Suite 270                             Attorneys for Defendants
Wayne, PA 19087                                               FMW RRI II, Inc.
(215) 977-4100

ESTATE OF CLARA T. TROILO, deceased       :               COURT OF COMMON PLEAS
by FRANK TROILO, Executor of the ESTATE   :               PHILADELPHIA COUNTY
OF CLARA T. TROILO,                       :
                 Plaintiff,               :
                                          :
       v.                                 :               DECEMBER TERM, 2021
                                          :               NO.: 000073
ROSE TREE PLACE, NSL ROSE TREE PLACE, :
LLC, d/b/a ROSE TREE PLACE, WATERMARK :
RETIREMENT COMMUNITIES, INC.,             :
WATERMARK RETIREMENT COMMUNITIES, :
LLC, WATERMARK OPERATOR, LLC,             :
CYNTHIA EVANS, and KAREN MLAWSKY,         :
       Defendants.                        :
_________________________________________ :

                      PRAECIPE TO ENTER NOTICE OF REMOVAL

         Pursuant to 28 U.S.C. §1446(d), notice is hereby given that on the 10th day of January,

2021, Defendants Watermark Communities, LLC f/k/a Watermark Retirement Communities, Inc.,

Watermark Operator, LLC d/b/a Rose Tree Place, Cynthia Evans and Karen Mlawsky, filed a Notice

of Removal in the United States District Court for the Eastern District of Pennsylvania to remove the

above-captioned action from this Court to the United States District Court for the Eastern District of

Pennsylvania.




4871-3735-1177.1
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         Attached hereto is a copy of the Notice of Removal.

                                                       Respectfully submitted,
                                             LEWIS BRISBOIS BISGAARD & SMITH, LLP

                                                 By:   /s/ Lawrence D. Jackson
                                                       Lawrence D. Jackson, Esquire
                                                       550 E. Swedesford Road, Suite 270
                                                       Wayne, PA 19087
                                                       (215) 977-4100

                                                       Attorneys for Defendants
                                                       Watermark Communities, LLC f/k/a
                                                       Watermark Retirement Communities,
                                                       Inc., Watermark Operator, LLC d/b/a
                                                       Rose Tree Place, Cynthia Evans and
                                                       Karen Mlawsky

Dated: January 10, 2022




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                                    CERTIFICATE OF SERVICE


         I, Lawrence D. Jackson, Esquire, hereby certify that I caused the foregoing to be filed

electronically with the Court, where it is available for viewing and downloading from the Court’s

ECF system, and that such electronic filing automatically generates a Notice of Electronic Filing

constituting service of the filed document upon counsel of record.


                                             /s/ Lawrence D. Jackson
                                             Lawrence D. Jackson

DATED: January 10, 2022




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                                                                    COURT
                                                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                          DESIGNATION FORM
                    (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                        95 Trent Road, Turnersville, NJ 08012
Address of Plaintiff: ______________________________________________________________________________________________
                       500 Sandy Bank Road, Media, PA 19063
Address of Defendant: ____________________________________________________________________________________________
                                             500 Sandy Bank Road, Media, PA 19063
Place of Accident, Incident or Transaction: ___________________________________________________________________________


RELATED CASE, IF ANY:

Case Number: ______________________________                     Judge: _________________________________                     Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                    No   ✔
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                    No   ✔
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier
       numbered case pending or within one year previously terminated action of this court?
                                                                                                                                Yes                    No   ✔
4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                    No    ✔
       case filed by the same individual?

I certify that, to my knowledge, the within case             is /   ●   is not related to any case now pending or within one year previously terminated action in
this court except as noted above.

        January 10, 2022
DATE: __________________________________                                     Must sign
                                                             ______________________    here
                                                                                    ____________________                        _56140_________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                                Attorney I.D. # (if applicable)


CIVIL: (Place a √ in one category only)

A.            Federal Question Cases:                                                       B.   Diversity Jurisdiction Cases:

      1.     Indemnity Contract, Marine Contract, and All Other Contracts                      1.    Insurance Contract and Other Contracts
      2.     FELA                                                                              2.    Airplane Personal Injury
      3.     Jones Act-Personal Injury                                                         3.    Assault, Defamation
      4.     Antitrust                                                                         4.    Marine Personal Injury
      5.     Patent                                                                            5.    Motor Vehicle Personal Injury
      6.     Labor-Management Relations                                                        6.    Other Personal Injury (Please specify): _____________________
      7.     Civil Rights                                                                      7.    Products Liability
      8.     Habeas Corpus                                                                     8.    Products Liability – Asbestos
      9.     Securities Act(s) Cases                                                           9.    All other Diversity Cases
      10.    Social Security Review Cases                                                             (Please specify): ____________________________________________

✔      11.    All other Federal Question Cases
                                 PREP Act
              (Please specify): ____________________________________________



                                                                            ARBITRATION CERTIFICATION
                                                  (The effect of this certification is to remove the case from eligibility for arbitration.)

        Lawrence D. Jackson
I, ____________________________________________, counsel of record or pro se plaintiff, do hereby certify:

     
     ✔        Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of $150,000.00 exclusive of interest and costs:

             Relief other than monetary damages is sought.


        January 10, 2022
DATE: __________________________________                                   Sig________
                                                             ________________  n here if applicable
                                                                                          __________________                   ____56140_______________________
                                                                                 Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 (5/2018)
